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                                                                           10                                     UNITED STATES DISTRICT COURT
                                                                           11                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                           12   MADELINE PANTONI, individually                    Case No.:
                                                                                and on behalf of all others similarly situated,   Case Filed: January 3, 2023
                                                                           13
                                                                                                          Plaintiff,              CLASS ACTION COMPLAINT
                                                                           14
                                                                                      v.                                             1. Violation of Unfair Competition Law
                                                                           15                                                           (Cal. Bus. & Prof. Code §§ 17200, et
                                                                                SPINDRIFT BEVERAGE COMPANY, INC.                        seq.)
                                                                           16                                                        2. Violation of False Advertising Law
                                                                                                          Defendant.                    (Cal. Bus. & Prof. Code §§ 17500, et
                                                                           17                                                           seq.)
                                                                                                                                     3. Violation of Consumers Legal
                                                                           18                                                           Remedies Act (Cal. Civ. Code §§
                                                                                                                                        1750, et seq.)
                                                                           19                                                        4. Breach of Warranty
                                                                                                                                     5. Unjust Enrichment
                                                                           20
                                                                                                                                  JURY TRIAL DEMANDED
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                                                                            1                                              COMPLAINT

                                                                            2          1.     Plaintiff Madeline Pantoni (“Plaintiff”), individually and on behalf of all others

                                                                            3   similarly situated, as more fully described herein (the “Class” and/or “Class Members”), brings

                                                                            4   this class action complaint against Defendant Spindrift Beverage Co., Inc. (“Defendant” and/or

                                                                            5   “SBCI”), and alleges the following upon information and belief, unless otherwise expressly stated

                                                                            6   as based upon personal knowledge.

                                                                            7    I.   INTRODUCTION

                                                                            8          2.     Challenged Representations. In an effort to increase profits and to obtain an unfair
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                                                                            9   advantage over its lawfully acting competitors, Defendant falsely and misleadingly labels certain of
                                                                           10   its Spindrift® brand sparkling water (“Sparkling Water Products”) and spiked sparkling water
                                                                           11   (“Spiked Products”) with prominently displayed and repeated statements that the Products only
                                                                           12   contain two ingredients: sparkling water and real fruit or spiked sparkling water and real fruit. See,
                                                                           13   infra, ¶ 4 (identifying each Sparkling Water Product and Spiked Product, which collectively are
                                                                           14   referred to herein as the “Products”). Specifically, on each of the Sparkling Water Products, it states
                                                                           15   on the Products’ front-facing labels and packaging: “SPARKLING WATER & REAL
                                                                           16   SQUEEZED FRUIT yup, that’s it.” (hereinafter the “Sparkling Representation”). See also
                                                                           17   Exhibit 1-1 to 1-4 [Sparkling Water Product Images]. Similarly, on each of the Spiked Water
                                                                           18   Products, it states on the Products’ front-facing labels and packaging: “spiked sparkling water.

                                                                           19   real squeezed [fruit]. YUP THAT’S IT.” (hereinafter the “Spiked Representation”). See also

                                                                           20   Exhibit 1-5 to 1-12 [Sparkling Water Product Images]. The Sparkling Representation and Spiked

                                                                           21   Representation are also hereinafter referred to as the “Challenged Representation(s).” The

                                                                           22   Products’ labels and packaging contain a plethora of reinforcing statements and/or images on all

                                                                           23   sides of the Products’ labels and packaging. See, infra, ¶ 17 (describing the Products’ labels and

                                                                           24   packaging); see also Exhibit 1 [Product Images]. The Challenged Representations, viewed in

                                                                           25   context, lead reasonable consumers, like Plaintiff, to incorrectly believe that the products contain

                                                                           26   only two types of ingredients: sparkling (or carbonated) water and “real” fruit, or spiked sparkling

                                                                           27   water (alcoholic carbonated water) and “real” fruit. In reality, each Product contains “citric acid”

                                                                           28   (or more accurately, manufactured citric acid (also referred to as “MCA”)), which is a synthetic or
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                                                                            1   artificial flavoring agent and preservative that is not “squeezed from real fruit,” let alone alcohol or

                                                                            2   carbonated water. An exemplar of the Spindrift® brand Sparkling Water Products and Spiked

                                                                            3   Products’ labels and packaging are depicted immediately below.

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                                                                           14   See also Spindrift® Sparkling Water, Exhibit 1-1 to 1-4.
                                                                           15

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                                                                           28   See also Spindrift® Spiked Sparkling Water Exhibit 1-5 to 1-12.
                                                                                                                                  -2-
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                                                                            1          3.     The     Deception      of   the   Challenged     Representations.      The    Challenged

                                                                            2   Representations mislead reasonable consumers into believing that the Products are only composed

                                                                            3   of 2-3 types of ingredients: (1) “sparkling water” or “spiked sparkling water,” and (2) “real squeezed

                                                                            4   fruit” or “real fruit.” However, contrary to these representations, the products contain manufactured

                                                                            5   citric acid, which is neither carbonated water, alcohol, nor fruit—real or synthetic. Rather, it is a

                                                                            6   synthetic or artificial preservative and flavoring agent that it is not squeezed or derived from fruits,

                                                                            7   let alone carbonated water or alcohol. Instead, MCA is synthesized or derived from black mold

                                                                            8   (Aspergillus Niger) that is cultivated from corn syrup or root-vegetables. Defendant’s inclusion of
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                                                                            9   citric acid in the Products contradicts the Challenged Representations, which explicitly informs
                                                                           10   consumers that the products only contain sparkling water or spiked sparkling water and “real”
                                                                           11   fruit”—nothing more and certainly not artificial or synthetic flavoring agents and preservatives
                                                                           12   derived from mold. Through falsely, misleadingly, and deceptively labeling and advertising the
                                                                           13   Products, Defendant sought to take advantage of consumers’ desire, perceived value, and
                                                                           14   willingness to pay more for natural, healthy, and “clean” products that only contain whole-food
                                                                           15   ingredients (such as real fruit), without the addition of synthetic or artificial flavoring additives and
                                                                           16   preservatives (such as citric acid). In this way, Defendant has charged consumers a premium for
                                                                           17   Products falsely advertised and warranted as containing only “sparkling water” or “spiked sparkling
                                                                           18   water” and “real squeezed fruit” (promising “YUP, THAT’S IT”), while cutting costs and reaping

                                                                           19   the financial benefits of utilizing cheaper and easier-to-produce ingredients, like MCA, that is not

                                                                           20   squeezed from real fruit, let alone carbonated water or alcohol, and instead is a synthetic or artificial

                                                                           21   preservative and flavoring agent. Defendant has done so at the expense of unwitting consumers, as

                                                                           22   well as Defendant’s lawfully acting competitors, over whom Defendant maintains an unfair

                                                                           23   competitive advantage. Accordingly, Defendant’s Challenged Representations are misleading and

                                                                           24   deceptive, and therefore unlawful.

                                                                           25          4.     Products. The Products at issue are Spindrift® brand sparkling water and spiked

                                                                           26   sparkling water beverages, sold to consumers in the United States during the Class Period, that

                                                                           27   display one or more of the Challenged Representations on the Products’ labels and/or packaging,

                                                                           28   but also contain MCA as an ingredient, regardless of the Product’s size (including each can’s
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                                                                            1   volume, or the number of cans per pack), and regardless of whether the Product comes in a multi-

                                                                            2   pack that includes a variety of flavors (collectively referred to herein and throughout this complaint

                                                                            3   as the “Products”). Accordingly, the Products include, but are not limited to, the following:

                                                                            4                 a. (1) Spindrift® Sparkling Water beverages (in all sizes and including any multi-

                                                                            5                     packs containing a variety of flavors) that have one or more Challenged

                                                                            6                     Representations on the Products’ labels or packaging and contain MCA

                                                                            7                     (collectively, “Sparkling Water Products”), including, but not limited to:

                                                                            8                     1.   Blood Orange Tangerine, in all sizes, including, but not limited to: (a) 1
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                                                                            9                          count (single can), (b) 4 count packs, and (c) 8 count packs (see Exhibit 1-
                                                                           10                          1A to Exhibit 1-1C);
                                                                           11                     2.   Cucumber, in all sizes, including, but not limited to: (a) 1 count (single can),
                                                                           12                          (b) 4 count packs, and (c) 8 count packs (see Exhibit 1-2A to Exhibit 1-
                                                                           13                          2C);
                                                                           14                     3.   Orange Mango, in all sizes, including, but not limited to: (a) 1 count (single
                                                                           15                          can), (b) 4 count packs, and (c) 8 count packs (see Exhibit 1-3A to Exhibit
                                                                           16                          1-3C); and
                                                                           17                     4.   Pineapple, in all sizes, including, but not limited to: (a) 1 count (single can),
                                                                           18                          (b) 4 count packs, and (c) 8 count packs (see Exhibit 1-4A to Exhibit 1-

                                                                           19                          4C).

                                                                           20   (see Exhibit 1-1 to 1-4 [Product Images for Spindrift® Sparkling Water]);

                                                                           21                 b. (2) Spindrift® Spiked Sparkling Water beverages (in all sizes and including any

                                                                           22                     multi-packs containing a variety of flavors) that have one or more Challenged

                                                                           23                     Representations on the Products’ labels or packaging and contain MCA

                                                                           24                     (collectively, “Spiked Products”), including, but not limited to:

                                                                           25                     5.   Blood Orange Tangerine, in all sizes, including, but not limited to: (a) 1

                                                                           26                          count (single can), (b) 8 count packs, and (c) 12 count packs, and (d) multi-

                                                                           27                          packs containing a variety of flavors (e.g., Paradise Variety Pack), (see

                                                                           28                          Exhibit 1-5A to 1-5B, 1-11A);
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                                                                            1                     6.    Grapefruit, in all sizes, including, but not limited to: (a) 1 count (single can),

                                                                            2                           (b) 8 count packs, and (c) 12 count packs, and (d) multi-packs containing a

                                                                            3                           variety of flavors (e.g., Paradise Variety Pack) (see Exhibit 1-6A to 1-6B,

                                                                            4                           1-11A);

                                                                            5                     7.    Lemon, in all sizes, including, but not limited to: (a) 1 count (single can), (b)

                                                                            6                           8 count packs, and (c) 12 count packs, and (d) multi-packs containing a

                                                                            7                           variety of flavors (e.g., Paradise Variety Pack) (see Exhibit 1-7A to 1-7B,

                                                                            8                           1-11A);
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                                                                            9                     8.    Mango, in all sizes, including, but not limited to: (a) 1 count (single can), (b)
                                                                           10                           8 count packs, and (c) 12 count packs, and (d) multi-packs containing a
                                                                           11                           variety of flavors (e.g., Stacation Variety Pack) (see Exhibit 1-8A to 1-8B,
                                                                           12                           1-12A);
                                                                           13                     9.    Passion Orange Guava, in all sizes, including, but not limited to: (a) 1 count
                                                                           14                           (single can), (b) 8 count packs, and (c) 12 count packs, and (d) multi-packs
                                                                           15                           containing a variety of flavors (e.g., Paradise Variety Pack) (see Exhibit 1-
                                                                           16                           9A to 1-9B, 1-11A); and
                                                                           17                     10.   Pineapple, in all sizes, including, but not limited to: (a) 1 count (single can),
                                                                           18                           (b) 8 count packs, and (c) 12 count packs, and (d) multi-packs containing a

                                                                           19                           variety of flavors (e.g., Stacation Variety Pack) (see Exhibit 1-10A to 1-

                                                                           20                           10B, 1-12A).

                                                                           21   (see Exhibit 1-5 to 1-12 [Product Images for Spindrift® Spiked Sparkling Water]).

                                                                           22          5.     Primary Dual Objectives. Plaintiff brings this action individually and in a

                                                                           23   representative capacity on behalf of similarly situated consumers who purchased the Products

                                                                           24   during the relevant Class Period (Class and/or Subclass defined infra), for dual primary objectives:

                                                                           25   One, Plaintiff seeks, on Plaintiff’s individual behalf and on behalf of the Class/Subclass, a monetary

                                                                           26   recovery of the price premium Plaintiff and consumers overpaid for Products that should, but fail

                                                                           27   to, comport with the Challenged Representations (which may include, for example, damages,

                                                                           28   restitution, disgorgement, and/or any applicable penalties, fines, or punitive/exemplary damages)
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                                                                            1    solely to the extent that the causes of action pled herein permit such recovery. Two, Plaintiff seeks,

                                                                            2    on their individual behalf and on behalf of the Class/Subclass, injunctive relief to stop Defendant’s

                                                                            3    unlawful manufacture, marketing, and sale of the Products with the Challenged Representations to

                                                                            4    avoid or mitigate the risk of deceiving the public into believing that the Products conform to the

                                                                            5    Challenged Representations, by requiring Defendant to change its business practices, which may

                                                                            6    include one or more of the following: removal or modification of the Challenged Representations

                                                                            7    from the Products’ labels and/or packaging, removal or modification of the Challenged

                                                                            8    Representations from the Products’ advertising, modification of the Product’s formulation be it a
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                                                                            9    change in ingredients or their sourcing and manufacturing processes, and/or discontinuance of the
                                                                           10    Product’s manufacture, marketing, and/or sale.
                                                                           11    II.   JURISDICTION

                                                                           12           6.     This Court has original jurisdiction over this action pursuant to the Class Action

                                                                           13    Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class consists of 100 or more

                                                                           14    members; the amount in controversy exceeds $5,000,000, exclusive of costs and interest; and

                                                                           15    minimal diversity exists. This Court also has supplemental jurisdiction over the state law claims

                                                                           16    pursuant to 28 U.S.C. § 1367.

                                                                           17   III.   VENUE

                                                                           18           7.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

                                                                           19    the events and omissions giving rise to Plaintiff’s claims occurred in this District. Specifically,

                                                                           20    Plaintiff purchased the Products in this District, and Defendant has deliberately marketed,

                                                                           21    advertised, and sold the Products within this District using the Challenged Representations.

                                                                           22   IV.    PARTIES

                                                                           23          A.      Plaintiff

                                                                           24           8.     Plaintiff Madeline Pantoni. The following is alleged based upon Plaintiff’s personal

                                                                           25    knowledge:

                                                                           26                  a. Residence. Plaintiff Pantoni was previously a resident of San Francisco,
                                                                                                  California and is currently a resident of Alameda, California.
                                                                           27
                                                                                               b. Purchase Details. Plaintiff purchased the Spindrift® Sparkling Water – Orange
                                                                           28                     Mango (12 count) (the “Purchased Product”) for approximately $7.00 at a

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                                                                                                 grocery store in San Francisco, California, in or around the fall of 2022 (see
                                                                            1                    generally Exhibit 1-3 [Product Images]).
                                                                            2                 c. Reliance on Challenged Representations. In making the purchase, Plaintiff read
                                                                                                 the Challenged Representations on the Product’s label or packaging, leading
                                                                            3                    Plaintiff to believe that the Product’s ingredients solely consisted of sparkling
                                                                                                 water and real squeezed fruit—i.e., that the Product did not contain artificial or
                                                                            4                    synthetic preservatives or flavoring agents that were not derived from carbonated
                                                                                                 water or real fruit.
                                                                            5
                                                                                              d. No Actual Knowledge of Falsity. At the time of purchase, Plaintiff did not know
                                                                            6                    that the Challenged Representations were false in that Plaintiff did not know that
                                                                                                 the Products contain ingredients that are neither sparkling water nor real fruit, and
                                                                            7                    instead also included a synthetic or artificial preservative or flavoring agent.
                                                                            8
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                                                                                              e. No Notice of Contradictions. Plaintiff did not notice any disclaimer, qualifier, or
                                                                                                 other explanatory statement or information on the Product’s labels or packaging
                                                                            9                    that contradicted the prominent Challenged Representations or otherwise
                                                                                                 suggested that the Products were not, in fact, solely comprised of sparkling water
                                                                           10                    and real squeezed fruit, and instead contained additional artificial or synthetic
                                                                                                 preservatives or flavoring agents.
                                                                           11
                                                                                              f. Causation/Damages. Plaintiff would not have purchased the Product or would
                                                                           12                    not have paid as much for the Product, had Plaintiff known that it was not solely
                                                                                                 comprised of sparkling water and real squeezed fruit, but instead contained
                                                                           13                    additional artificial or synthetic preservatives or flavoring agents.
                                                                           14                 g. Desire to Repurchase. Plaintiff continues to see the Products available for
                                                                                                 purchase and desires to purchase them again if the Challenged Representations
                                                                           15                    were in fact true.
                                                                           16                 h. Lack of Personal Knowledge/Expertise to Determine Truth. Plaintiff does not
                                                                                                 personally know what ingredients are actually contained in the Products or the
                                                                           17                    methods used to make the Products (including sourcing and manufacturing
                                                                                                 processes), and Plaintiff does not possess any specialized knowledge or general
                                                                           18                    familiarity with the Products’ ingredients or the methods typically used to obtain
                                                                                                 or make the Products’ ingredients (including sourcing and manufacturing
                                                                           19                    processes), such that Plaintiff does not personally know and cannot determine
                                                                                                 whether the Products’ ingredients—contrary to the Challenged Representations—
                                                                           20                    are not derived from carbonated water, alcohol, or real fruit. Thus, Plaintiff has no
                                                                                                 way of determining whether the Challenged Representations on the Products are
                                                                           21                    true.
                                                                           22                 i. Inability to Rely. Plaintiff is, and continues to be, unable to rely on the truth of
                                                                                                 the Products’ Challenged Representations on their packaging and labels.
                                                                           23

                                                                           24          9.     Plaintiff’s Future Harm. Defendant continues to market and sell the Products with

                                                                           25   the Challenged Representations. Plaintiff would like to continue purchase the Products in the future

                                                                           26   if they lived up to and conformed with the Challenged Representations. However, Plaintiff is an

                                                                           27   average consumer who is not sophisticated in the chemistry, manufacturing, and formulation that

                                                                           28   goes into creating beverages for consumption, such as the Products. Indeed, Plaintiff does not have
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                                                                            1   any personal knowledge regarding the ingredients or the methods Defendant used to make them

                                                                            2   (e.g., if “citric acid” is “squeezed” from a “real fruit” or if it is artificial and synthesized from black

                                                                            3   mold cultivated from corn syrup or root vegetables). Thus, Plaintiff cannot accurately differentiate

                                                                            4   between ingredients that are carbonated water, alcohol, or squeezed from real fruit, as opposed to

                                                                            5   ingredients that are neither carbonated water, alcohol, nor real fruit and instead are

                                                                            6   artificially/synthetically derived from some other type of raw ingredient (like black mold cultivated

                                                                            7   from corn syrup or root vegetables). Since Plaintiff wants to purchase the Products again to obtain

                                                                            8   the benefits of the Challenged Representations—despite the fact that the Products were once marred
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                                                                            9   by false advertising or warranties—Plaintiff would likely and reasonably, but incorrectly, assume
                                                                           10   the Products are true to and conform with the Challenged Representations on their labels, packaging,
                                                                           11   and Defendant’s advertisements, including Defendant’s website and social media platforms.
                                                                           12   Accordingly, Plaintiff is at risk of reasonably, but incorrectly, assuming that Defendant has fixed
                                                                           13   the Products such that Plaintiff may buy them again, believing they are no longer falsely advertised
                                                                           14   and warranted. In this regard, Plaintiff is currently and in the future deprived of the ability to rely
                                                                           15   on the Challenged Representations to purchase the Products.
                                                                           16         B.       Defendant

                                                                           17           10.    Defendant Spindrift Beverage Co., Inc. (“Defendant” or “SBCI”) is a corporation

                                                                           18   headquartered and/or maintaining a principal place of business in the Commonwealth of

                                                                           19   Massachusetts. Defendant was doing business in the State of California at all relevant times. See,

                                                                           20   e.g., Exhibit 2-m [Spindrift Spiked. Finally Webpage] (Defendant explaining that it has launched

                                                                           21   the sale of the Spiked Products specifically in Southern California and New England). Directly and

                                                                           22   through its agents, Defendant has substantial contacts with and receives substantial benefits and

                                                                           23   income from and through the State of California. Defendant is one of the owners, manufacturers,

                                                                           24   marketers, and/or distributors of the Products, and is one of the companies that created, authorized,

                                                                           25   and controlled the use of the Challenged Representations to market the Products. Defendant and its

                                                                           26   agents promoted, marketed, and sold the Products at issue throughout the United States and, in

                                                                           27   particular, within this judicial district. The unfair, unlawful, deceptive, and misleading Challenged

                                                                           28   Representations on the Products were prepared, authorized, ratified, and/or approved by Defendant
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                                                                            1   and its agents, and were disseminated throughout California and the nation by Defendant and its

                                                                            2   agents to deceive and mislead consumers in the State of California and the United States into

                                                                            3   purchasing the Products and/or paying a premium for them.

                                                                            4   V.    FACTUAL ALLEGATIONS

                                                                            5         A.      Market Background/Consumer Trends

                                                                            6          11.    Background – Clean Label and Short Ingredient Lists. “Clean” labels in the food

                                                                            7   and beverage industry are product labels, typically on the front packaging, that advertise ingredients

                                                                            8   that consumers instantly recognize and understand. Such ingredients are typically whole-foods that
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                                                                            9   consumers are familiar with and instantly understand the health benefits of—such as fruits,
                                                                           10   vegetables, or nuts. Indeed, the majority of consumers value a short and simple ingredient list and
                                                                           11   seek fresh, natural, and minimally processed products. 1 According to a study conducted by the
                                                                           12   Archer-Daniels-Midland Company (ADM), 60 percent of consumers are influenced to purchase

                                                                           13   products with recognizable ingredients and 66 percent of consumers value labels that advertise the

                                                                           14   “shortest ingredients lists possible.” 2 Consumers are willing to pay a price premium for products

                                                                           15   that boast short, recognizable ingredient lists, 3 like the Products at issue, which advertise that they

                                                                           16   only contain two or three simple, recognizable ingredients—water (sparkling or spiked) and real

                                                                           17   squeezed fruit. Companies that meet consumer demand for clean labels with short ingredient lists

                                                                           18   have experienced financial success as evidenced by the 2021 Global Clean Label Manufacturer

                                                                           19   Study, which found that products with clean labels experienced an increase of 15 percent in

                                                                           20   revenue. 4

                                                                           21
                                                                                1
                                                                           22     Daniel Haley, Uncovering the Clean Label Connection to Business Growth, INGREDION (May 16,
                                                                                2022), available at https://www.ingredion.com/na/en-us/be-whats-next/growth-with-clean-
                                                                           23   label.html (accessed 12/22/2022) (citing results from Ingredion proprietary research); NIELSEN
                                                                                CORP., Global Health and Wellness Report (2015), pg. 2-3, available at
                                                                           24   https://www.yumpu.com/en/document/read/37177990/nielsen-global-health-and-wellness-report-
                                                                                january-2015 (accessed 1/3/2023).
                                                                                2
                                                                           25      Melissa Kvidahl Reilly, The Whole Truth: Formulators Finding Success with Clean Label
                                                                                Instructions,    FOOD     &     BEVERAGE     INSIDER     (Mar.     2,    2020)    available  at
                                                                           26   https://www.foodbeverageinsider.com/ingredients/whole-truth-formulators-finding-success-clean-
                                                                                label-inclusions (accessed 12/22/2022).
                                                                                3
                                                                           27     Judie Bizzozero, 75% of Consumers Will Pay Extra for Clean Label Ingredients, FOOD &
                                                                                BEVERAGE INSIDER (Mar. 15, 2017), available at https://www.foodbeverageinsider.com/market-
                                                                           28   trends-analysis/75-consumers-will-pay-extra-clean-label-ingredients (accessed 12/22/2022).
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                                                                                  Haley, supra note 1.
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                                                                            1          12.    Background – Real Food Inclusions. Consumers value food and beverage products

                                                                            2   that contain whole-foods—such as fruits and vegetables—over products that contain synthetic,

                                                                            3   artificial ingredients, such as MCA. According to the FDA’s 2019 Food Safety and Nutrition

                                                                            4   Survey, 89 percent of consumers are concerned about artificial ingredients in food with 22 percent

                                                                            5   being “Extremely concerned.” 5 According to Nielsen’s 2015 Global Health & Wellness Survey,

                                                                            6   consumers prefer products that are flavored from fruits and vegetables and avoid artificial flavors

                                                                            7   and are willing to pay a price premium for those products. 6 Consumers also place value in products

                                                                            8   that contain “real” ingredients. According to Technomic’s Healthy Eating report, 57 percent of
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                                                                            9   consumers report that they perceive food and drinks labeled “real” to be healthier. 7 Products
                                                                           10   containing limited and real ingredients are generally perceived as “clean,” and Technomic’s Healthy

                                                                           11   Eating report found that 40 percent of consumers are more likely to purchase “clean” products and

                                                                           12   are willing to pay more for such products, like the Products at issue.

                                                                           13         B.      Manufactured Citric Acid Is an Undesirable and Potentially Hazardous

                                                                           14                 Synthetic/Artificial Flavoring Agent and Preservative in Food and Beverages

                                                                           15          13.    Citric Acid is a Synthetically Produced Artificial Flavoring Agent and

                                                                           16   Preservative. The overwhelming majority of citric acid is manufactured citric acid, which is a

                                                                           17   synthetically created artificial flavoring agent chemically manufactured and often used as a

                                                                           18   flavoring agent or preservative in beverage and food products. Manufactured citric acid is not

                                                                           19   “squeezed from real fruit”—as an ordinary consumer might assume based on its name alone.

                                                                           20   Although citric acid can be produced naturally by extracting it from citrus fruits, commercial

                                                                           21   production of citric acid for food and beverage products is not created by this natural process. 8

                                                                           22   5
                                                                                  U.S. FOOD & DRUG ADMIN., FDA’s Food Safety and Nutrition Survey: 2019 Survey (Mar. 2021),
                                                                           23   available at https://www.fda.gov/media/146532/download (accessed 12/22/2022).
                                                                                6
                                                                                   NIELSEN CORP., Global Health and Wellness Report (2015), pg. 2-5, available at
                                                                           24   https://www.yumpu.com/en/document/read/37177990/nielsen-global-health-and-wellness-report-
                                                                                january-2015 (accessed 12/22/2022).
                                                                                7
                                                                           25     RESTAURANT BUS., Consumers’ Rising Demand for Real Ingredients (Oct. 12, 2018), available at
                                                                                https://www.restaurantbusinessonline.com/food/consumers-rising-demand-real-ingredients
                                                                           26   (accessed 12/22/2022).
                                                                                8
                                                                                  Abd El-Latif Hesham, Yasser S. Mostafa, & Laila Essa Omar AlSharqi, Optimization of Citric
                                                                           27   Acid Production by Immobilized Cells of Novel Yeast Isolates, 48 MYCOBIOLOGY 122, 123 (2020),
                                                                                available                                                                                   at
                                                                           28   https://www.tandfonline.com/doi/epub/10.1080/12298093.2020.1726854?needAccess=true
                                                                                (accessed 12/22/2022).
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                                                                            1   Rather, more than 90 percent of commercially produced citric acid is produced through a processed

                                                                            2   derivative of black mold, Aspergillus niger, which can cause allergic reactions and diseases in

                                                                            3   humans. 9 Negative side effects of consuming manufactured citric acid include: swelling and

                                                                            4   stiffness resulting in joint pain; muscle pain; stomach pain; and shortness of breath. 10 These

                                                                            5   symptoms were not experienced by people who consumed the natural form of citric acid, which is

                                                                            6   derived from real fruits. 11

                                                                            7           14.    Citric Acid is a Preservative. The FDA classifies and identifies citric acid as a

                                                                            8   preservative in its Overview of Food Ingredients, Additives, and Colors, on the FDA’s website and
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                                                                            9   provides examples of uses of preservatives like citric acid, including, in beverages. 12 Citric acid acts
                                                                           10   as a preservative in the Product regardless of the subjective purpose or intent for why Defendant

                                                                           11   added citric acid to the Product, including, as a flavoring agent. Citric acid in beverages functions

                                                                           12   as a preservative by serving as an acidulant and as an indirect antioxidant, by infiltrating and then

                                                                           13   weakening or killing microorganisms through direct antimicrobial effect lowering their pH-level

                                                                           14   and thereby combatting microorganisms, and through sequestration. 13 Citric acid serves these

                                                                           15   functions regardless of whether it is also being used as an artificial flavor. 14

                                                                           16           15.    Citric Acid in Sparkling Water is Corrosive to Teeth. Citric acid in beverages,

                                                                           17   specifically in seltzers and sparkling waters, has a corrosive impact on consumers’ teeth and the

                                                                           18   health of their enamels. One study by the University of Birmingham School of Dentistry concluded

                                                                           19   9
                                                                                   Id.; Iliana E. Sweis & Bryan C. Cressey, Potential Role of The Common Food Additive
                                                                           20   Manufactured Citric Acid in Eliciting Significant Inflammatory Reactions Contributing to Serious
                                                                                Disease States: A Series of Four Case Reports, 5 TOXICOLOGY REPORTS 808, 809–811 (2018),
                                                                           21   available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6097542/ (accessed 12/22/2022)
                                                                                (further noting that 99% of manufactured citric acid or MCA is derived from Aspergillus niger);
                                                                           22   Rosaria Ciriminna, Francesco Meneguzzo, Riccardo Delisi, & Mario Pagliaro, Citric Acid:
                                                                                Emerging Applications of Key Biotechnology Industrial Product, 11 CHEMISTRY CENT. J. 22 (2017),
                                                                           23   available at https://doi.org/10.1186/s13065-017-0251-y (accessed 12/22/2022); K. Kirimura, Y.
                                                                                Honda, & T. Hattori, Citric Acid, 3 COMPREHENSIVE BIOTECHNOLOGY 135 (2011), available at
                                                                           24   https://www.sciencedirect.com/science/article/pii/B9780080885049001690 (accessed 12/22/2022).
                                                                                10
                                                                                   Gavin Van De Walle, What is Citric Acid, and Is It Bad for You?, HEALTHLINE (Sept. 30, 2021),
                                                                           25   https://www.healthline.com/nutrition/citric-acid#safety (accessed 12/22/2022).
                                                                                11
                                                                                   Id.
                                                                                12
                                                                           26      See Overview of Food Ingredients, Additives & Colors, FDA, available at
                                                                                https://www.fda.gov/food/food-ingredients-packaging/overview-food-ingredients-additives-colors
                                                                           27   (accessed 1/3/2023).
                                                                                13
                                                                                   John M. deMan, Acids as food additives serve a dual purpose, as acidulants and as preservatives,
                                                                           28   PRINCIPLES OF FOOD CHEMISTRY (AVI Publishing Co., Inc., 1999), at p. 438.
                                                                                14
                                                                                   Id.
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                                                                            1   that “[c]itric acid has a particularly high erosive potential as a result of both its acidic nature and its

                                                                            2   chelating (calcium binding) properties . . . in composition alone, these flavoured water drinks should

                                                                            3   be considered as acidic as fruit drinks rather than water with flavouring.” 15

                                                                            4         C.       Defendant’s Brand Strategy and Marketing Campaign

                                                                            5           16.    Brand Strategy/Marketing Campaign. Defendant deliberately designed and

                                                                            6   executed a marketing campaign to distinguish the Spindrift® brand from their competitors, as a

                                                                            7   brand and company that manufactures clean, simple, well-designed sparkling water and spiked

                                                                            8   sparkling water beverages made with real squeezed fruit, and nothing more (yup, that’s it).
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                                                                            9   Previously, Defendant sold the similar sparkling water products that contained unspecified “natural
                                                                           10   flavors” that were sweetened with added sugar. See Exhibit 2-l [We’re Doubling Down on Real
                                                                           11   Fruit]. Approximately five years ago, Defendant discontinued the sugar-sweetened, naturally
                                                                           12   flavored line of products and “decided to double down on [its] commitment to taste, transparency,
                                                                           13   and real, simple ingredients by removing all natural flavors (or essences) from [its] unsweetened
                                                                           14   sparkling waters. Now, each and every can of Spindrift is made of only sparkling water and real
                                                                           15   fruit. That’s it.” Id. Defendant purposefully made this change to appeal to consumers’ desire for
                                                                           16   clean products containing whole-food ingredients and to gain a competitive advantage over other
                                                                           17   beverage and sparkling water or hard seltzer companies. Defendant signified its shift in product
                                                                           18   formulation by launching an extensive advertising campaign to make the brand synonymous with

                                                                           19   two ingredients—“sparkling water and real squeezed fruit” or “spiked sparkling water and real

                                                                           20   squeezed fruit,” emphasizing “Yup, that’s it.” Defendant also created a spin-off of its Sparkling

                                                                           21   Water Products, when it created its Spiked Products. See Exhibit 4-c [Spindrift Spiked - The Story]

                                                                           22   (“Think of Spiked as the sequel to the Spindrift Story….a spiked version of our product”). In

                                                                           23   furtherance of Defendant’s marketed identity and mission, Defendant repeatedly characterizes the

                                                                           24   Products as containing only two ingredients, sparkling water or spiked sparkling water and real fruit,

                                                                           25   repeatedly emphasizing the Challenged Representations. Not only does Defendant label and

                                                                           26   package the Products with the Challenged Representations, but Defendant’s advertising campaign

                                                                           27
                                                                                15
                                                                           28      Catriona J. Brown, et al., The Erosive Potential of Flavoured Sparkling Water Drinks, 17 INT’L
                                                                                J. PAEDIATRIC DENTISTRY 86, 90 (2007).
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                                                                            1   and brand strategy focus on the Products containing only real fruit. As described below, Defendant

                                                                            2   maintains a Spindrift® website for its non-alcoholic drinks (Sparkling Water Products), a separate

                                                                            3   Spiked Spindrift® website for its alcoholic drinks (Spiked Products), and several Spindrift® social

                                                                            4   media accounts—all designed to promote the brand and the company’s identity and goals, as well

                                                                            5   as market the Product, in line with its brand strategy, as Products that are only made of sparkling

                                                                            6   water or spiked sparkling water and real fruit, to the exclusion of any other ingredients, such as

                                                                            7   artificial or synthetic preservatives and flavoring agents.

                                                                            8          17.    Challenged Representations on the Products’ Labels. Defendant falsely and
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                                                                            9   misleadingly labels and packages the Products, as depicted below, with the Challenged
                                                                           10   Representations: “SPARKLING WATER & REAL SQUEEZED FRUIT yup, that’s it,” or “spiked
                                                                           11   sparkling water. real squeezed [fruit]. YUP THAT’S IT.” Exemplars follow immediately below:
                                                                           12                     Front & Back Panels of Packaging (Sparkling Water Product)
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                                                                           21                           Top Panel of Packaging (Sparkling Water Product)

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                                                                            1                       Bottom Panel of Packaging (Sparkling Water Product)

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                                                                           12                       Sides Panels of Packaging (Sparkling Water Product)
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                                                                           23   See, e.g., Ex. 1-1 [Blood Orange Tangerine 8-Pack].

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                                                                            1                    Front Panel of Packaging (Spiked Product)

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                                                                           15                    Back Panel of Packaging (Spiked Product)

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                                                                            1                     Top Panel of Packaging (Spiked Product)

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                                                                           14                   Bottom Panel of Packaging (Spiked Product)
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                                                                            1                             Side Panels of Packaging (Spiked Product)

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                                                                           12   See, e.g., Ex 1-12 [Stacation Variety 12-Pack]; see also https://www.food4less.com/p/spindrift-
                                                                           13   spiked-sparkling-water/0085002545705?fulfillment=IN_STORE (accessed 12/22/2022). The
                                                                           14   Challenged Representations on the Products’ labels and packaging are conspicuous and designed
                                                                           15   to grab the consumer’s attention. For example:
                                                                           16             a. Placement. On the front-facing labels of each Product’s can, the Challenged
                                                                                             Representations are prominently placed in the center, covering more than 50% of
                                                                           17                each label’s front panel. Images of the can, with the Challenged Representations, also
                                                                                             appear on the front panel of the Products’ packaging, as well as the back and one or
                                                                           18                more side panels. See Exhibit 1 [Product Images].
                                                                           19             b. Repetition. The Challenged Representations are repeatedly used on the Products’
                                                                                             cans and several panels of the Product’s packaging, including the front, back, bottom,
                                                                           20                and/or one or more side panels. Indeed, some version, a portion of the Challenged
                                                                                             Representations, or reinforcing statements and imagery appear on all sides of the
                                                                           21                Product’s can and packaging.
                                                                           22               (1) For example, on the Sparkling Water Products:
                                                                           23                   (a) The front packaging states “SPARKLING WATER & REAL SQUEEZED
                                                                                                    FRUIT,” identifies the fruit (e.g., “blood orange tangerine,” and displays an
                                                                           24                       image of the can, which has an image of a fruit on it, identifies the fruit, and
                                                                                                    states “SPARKLING WATER & REAL SEQUEEZED FRUIT yup, that’s it.”
                                                                           25                   (b) On the top panel of the packaging, it displays images of fruits and states “We
                                                                                                    squeezed [fruits] into this 8-pack of sparkling water.”
                                                                           26                   (c) On the bottom panel, it discusses the fruits that flavor the beverage and states
                                                                                                    “Just sparkling water & real squeezed fruit yup, that’s it.”
                                                                           27                   (d) On one side panel, it lists the same two ingredients, carbonated water and fruit
                                                                                                    (e.g., “Ingredients: Carbonated water, Blood Orange Juice, Tangerine Juice,
                                                                           28                       Citric Acid), and concludes “yup, that’s it.”
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                                                                                          (e) On the other side panel, it includes an image of the can, which displays an
                                                                            1                 image of a fruit and states “SPARKLING WATER & REAL SQUEEZED
                                                                                              FRUIT yup, that’s it.
                                                                            2
                                                                                          See, supra; see also Exhibit 1-1 to 1-4 [Sparkling Water Product Images].
                                                                            3
                                                                                      (2) Similarly, on the Spiked Water Products:
                                                                            4
                                                                                          (a) The front packaging states “spiked sparkling water,” identifies the fruit flavors
                                                                            5                 (e.g., “PINEAPPLE MANGO LIME HALF & HALF”), and displays an image
                                                                                              of the can, which identifies the fruit (e.g., “PINEAPPLE”) and states “spiked
                                                                            6                 sparkling water. real squeezed [fruit]. YUP, THAT’S IT.”
                                                                                          (b) On the top panel of the packaging, it states “spiked . . . real squeezed fruit,”
                                                                            7                 identifies the fruit flavors (e.g., “PINEAPPLE MANGO LIME HALF &
                                                                                              HALF”), and notes the quantity of fruit in each can (e.g., “2 slices of
                                                                            8
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                                                                                              pineapple,” “2 slices of mango & 1 piece of orange,” “1 1/3 limes,” and “2/3
                                                                                              of a lemon . . .”
                                                                            9             (c) On the back panel, it states “the cleaner twist on hard seltzer” and displays an
                                                                                              image of each can, identifying each fruit and repeatedly stating “spiked
                                                                           10                 sparkling water. real squeezed [fruit]. YUP, THAT’S IT.”
                                                                                          (d) On the bottom panel, it reiterates each fruit flavor (e.g., “PINEAPPLE,”
                                                                           11                 “MANGO,” “LIME,” and “HALF & HALF”), repeatedly identifies the
                                                                                              product as alcoholic (“4% ALC BY VOL,” “these have alcohol”), and lists the
                                                                           12                 three same ingredients, carbonated water, alcohol, and fruit (e.g.,
                                                                                              “INGREDIENTS: CARBONATED WATER, ALCOHOL FROM
                                                                           13                 FERMENTEDCANE JUICE, PINEAPPLE JUICE, CITRIC ACID”).
                                                                                          (e) On each side panel, it displays an image of the can that repeats “spiked
                                                                           14                 sparkling water. real squeezed [fruit]. YUP, THAT’S IT.”
                                                                                          (f) At times, on one side panel, it also states “SPIKED,” “REAL SQUEEZED
                                                                           15                 FRUIT,” “NOTHING ARTIFICIAL,” “ALCOHOL FROM CANE SUGAR,”
                                                                                              and repeats “the cleaner twist on hard seltzer.”
                                                                           16
                                                                                          See, supra; see also Exhibit 1-5 to 1-12 [Spiked Product Images].
                                                                           17
                                                                                    c. Sparsity. The Challenged Representations are not hidden in a sea of information;
                                                                           18          rather, each panel, other than the panel containing regulatorily required information,
                                                                                       like the nutritional facts or identification of the manufacturer, contain scant
                                                                           19          information about the Products, largely limited to the brand name (“Spindrift”),
                                                                                       identification of the “real” fruit that flavors the Products (e.g., Blood Orange
                                                                           20          Tangerine), the Products’ size (e.g., “12 FL OZ,” or “8 cans”), and only few claims
                                                                                       about the Products’ other attributes.
                                                                           21
                                                                                      (a) For example, the only prominent or front-facing claims on the Sparkling Water
                                                                           22             Products’ labels or packaging, other than the Sparkling Representation and its
                                                                                          reinforcing statements or imagery, are limited to the Product’s size and the fact
                                                                           23             that it is unsweetened.
                                                                                      (b) Similarly, the only prominent or front-facing claims on the Spiked Product’s
                                                                           24             labels and packaging, other than the Spiked Representation and its reinforcing
                                                                                          statements or imagery, are limited to claims about the Product’s size; and, at times,
                                                                           25             the Product’s caloric content, that the Product’s alcohol came from can sugar, and
                                                                                          that the Product is ultra filtered.
                                                                           26
                                                                                      See Exhibit 1 [Product Images].
                                                                           27
                                                                                    d. Typeface. The Challenged Representations stand out from the scant additional
                                                                           28          information contained on the Product’s panels, prominently displayed with a bold
                                                                                                                         -18-
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                                                                                                and large typeface, clear and legible font, and highly visible lettering in colors that
                                                                            1                   starkly contrast with the Products’ background. See Exhibit 1 [Product Images].
                                                                            2                e. Imagery. Defendant uses imagery of different fruits to reinforce the Challenged
                                                                                                Representations on the Sparkling Water Products. See Exhibit 1-1 (oranges or
                                                                            3                   tangerines); Exhibit 1-2 (cucumbers); Exhibit 1-3 (mangos and oranges); Exhibit
                                                                                                1-4 (pineapples).
                                                                            4

                                                                            5   In this way, Defendant uses the Challenged Representations and the carefully designed labels and

                                                                            6   packaging, including the Challenged Representations’ placement, repetition, and typeface,

                                                                            7   alongside the sparsity of competing information and abundance of reinforcing imagery, to

                                                                            8   perpetuate the false notion that the Products are only composed of sparkling water or spiked
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                                                                            9   sparkling water and real fruit. The net-effect or net-impression on consumers viewing the Products’
                                                                           10   labels or packaging is that the Products contain only those two ingredients: sparkling water and real
                                                                           11   squeezed fruit, or spiked sparkling water and real squeezed fruit, and to the exclusion of any artificial
                                                                           12   or synthetic flavoring agents and/or preservatives.
                                                                           13          18.     Sparkling Water Products Website. 16 Defendant emphasizes the Sparkling
                                                                           14   Representations in its advertising of the Products as part of its marketing campaign and brand

                                                                           15   strategy to identify Sparkling Water Products as solely containing two ingredients: sparkling water

                                                                           16   and real squeezed fruit. Not only has Defendant labeled and packaged the Sparkling Water Products

                                                                           17   with the Challenged Representations, but Defendant engaged in a marketing campaign initiated

                                                                           18   before and continuing throughout the Class Period that repeats and reinforces the Sparkling

                                                                           19   Representation. Defendant’s marketing campaign and brand strategy is evidenced by its

                                                                           20   www.drinkspindrift.com website. For example:

                                                                           21                  a. Drink Spindrift Home. Currently, on the homepage of Defendant’s official brand
                                                                                                  website for the Sparkling Water Products, Defendant showcases numerous images
                                                                           22                     of the Products with the Challenged Representations. Exhibit 2-a [Dec. 2022
                                                                                                  Homepage]. Defendant continuously reinforces the Challenged Representations
                                                                           23                     by touting: “Real fruit. Really. Spindrift is America’s first sparkling water made
                                                                                                  with just real squeezed fruit. It’s a difference you can taste – and see. Literally …
                                                                           24                     Take your pick of real squeezed fruit … The best ingredients. Making a delicious
                                                                                                  product requires the best ingredients. We source the best-tasting fruit and let it
                                                                           25                     shine. Real, squeezed, and never-from-concentrate … Quality is everything to us.
                                                                                                  We’re obsessed with entire creation process, from tasting the fruit to sampling
                                                                           26
                                                                                16
                                                                           27     Between June 2022 and Present, Defendant made changes to its website for the Sparkling Water
                                                                                Products. Accordingly, Plaintiff cites Exhibit 2 for references made to statements from Defendant’s
                                                                           28   website in December 2022, and cites Exhibit 3 for references made to statements from Defendant’s
                                                                                website in June 2022.
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                                                                                          each can to sharing it with you.” See id. (emphasis added). In June 2022,
                                                                            1             Defendant similarly showcased numerous images of its Products set against
                                                                                          imagery of real fruits. Exhibit 3-a [June 2022 Homepage]. Defendant also touted,
                                                                            2             “real fruit. Really. Why is most ‘fruit flavored’ sparkling water clear? Have you
                                                                                          ever seen a clear blackberry? Spindrift is made with real fruit. It’s a difference
                                                                            3             you can taste – and see … a bold taste. What if sparkling water tasted like real
                                                                                          fruit? Spindrift has a unique, delicious taste that only real fruit can deliver. Light,
                                                                            4             bright, slightly sweet, and a little pulpy … the best ingredients. Making a delicious
                                                                                          product required the best ingredients. We source the highest-quality, best-tasting
                                                                            5             fruit from family farms around the US … The first batch of Spindrift was created
                                                                                          in our founder’s kitchen with a hand-juice. Today, the Spindrift recipes are exactly
                                                                            6             the same. We still taste every single batch. We just use a bigger juicer.” Id.
                                                                                          (emphasis added).
                                                                            7
                                                                                      b. What’s Inside. Currently, on the What’s Inside webpage, Defendant claims “[i]t’s
                                                                            8
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                                                                                         what’s inside that counts … Taste is everything. Our philosophy is simple: taste
                                                                                         is everything. To us, nothing tastes better than real fruit. So we go all-out to source
                                                                            9            the best-tasting real fruit, keep it delicious, and let it shine in everything we make.”
                                                                                         Exhibit 2-b [Dec. 2022 What’s Inside] (emphasis added). Furthermore,
                                                                           10            Defendant boasts that “REAL FRUIT TASTES BETTER.” Id. (emphasis added).
                                                                                         Defendant attempts to differentiate its Products from its competitors by claiming
                                                                           11            that “[w]hen most people think of flavored sparkling water, they probably
                                                                                         envision a bottle of hyper-carbonated, clear liquid with a sugary-sweet smell and
                                                                           12            nothing listed on the ingredients label. Just the words ‘natural flavors’ or
                                                                                         ‘essences’ – made by flavor companies who won’t reveal what they use to get the
                                                                           13            tastes they want. Complicated. So we decided to skip all that. We want our product
                                                                                         to taste like fruit (not just the essence of fruit), so we use actual real fruit in every
                                                                           14            can.” Id. (emphasis added). Defendant again reinforces the Challenged
                                                                                         Representations by stating, “Yup, that’s it…We think real fruit tastes better®.
                                                                           15            We hope you like it, too.” Id. (emphasis added). In June 2022, Defendant similarly
                                                                                         touted “what’s inside. America’s first sparkling water made with just real
                                                                           16            squeezed fruit. Yup, that’s it.” Exhibit 3-b [June 2022 What’s Inside] (emphasis
                                                                                         added). Defendant also attempted to differentiate its Products from competitors
                                                                           17            by stating, “[w]hen most people think of flavored sparkling water, they probably
                                                                                         envision a bottle of hyper-carbonated, clear liquid with a sugary-sweet smell and
                                                                           18            nothing listed on the ingredients label. No calories, no sugars, no … actual
                                                                                         ingredients. Just the words ‘natural flavors.’ What are ‘natural flavors?’ No one
                                                                           19            really knows. But we do know that scientists have gotten pretty good at
                                                                                         stimulating the taste of just about everything. By using a combination of
                                                                           20            chemicals, you can replicate any flavor you like. And you can add it into
                                                                                         carbonated water. But it still doesn’t taste like real fruit … yup, that’s it. Since
                                                                           21            everyone started putting ‘natural’ on their labels, we’ve lost sight of what the word
                                                                                         even means…So we decided to skip all that. We know what fruit is. We knew
                                                                           22            that, if we worked at it long enough, we’d figure out how we could skip using any
                                                                                         ‘flavors’ and just use real squeezed fruit. Today, we’re proud to say that all our
                                                                           23            products are just a few real, simple ingredients. Thus, the ”yup, that’s it” you’ll
                                                                                         see on our cans.” Id. (emphasis added). Notably, Defendant also emphasized that
                                                                           24            “Spindrift is the first sparkling water made with only first squeezed fruit. So,
                                                                                         when you pour Spindrift, you’ll see it is colorful because fruit has color.” Id.
                                                                           25            (emphasis added).
                                                                           26         c. Our Story. Currently on Defendant’s Our Story Webpage, Defendant touts that
                                                                                         the Products are “[l]ight, bright, and slightly pulpy.” Exhibit 2-c [Dec. 2022 Our
                                                                           27            Story]. Defendant once again emphasizes, “Spindrift is America’s first sparkling
                                                                                         water made with just real squeezed fruit. Yup, that’s it.” Id.; Exhibit 3-c [June
                                                                           28            2022 Our Story] (emphasis added). Defendant further states, “[a]t Spindrift
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                                                                                                 Beverage Co., we celebrate the amazing taste of real, simple, ingredients every
                                                                            1                    day. Because we think real food deserves a real drink.” Id. (emphasis added).
                                                                                                 Furthermore, Defendant again states, in bold font, “REAL FRUIT TASTES
                                                                            2                    BETTER.” Exhibit 2-c [Dec. 2022 Our Story] (emphasis added).
                                                                            3                 d. Our Farmers and Our Fruit. 17 In June 2022, on Defendant’s Our Farmers and
                                                                                                 Our Fruit webpage, Defendant once again boasted that “real fruit is at the heart
                                                                            4                    of the Spindrift Difference.” Defendant also detailed how it sources the fruit from
                                                                                                 farms all over the country, Defendant emphasizes this with a map of the United
                                                                            5                    States along side fruit imagery. Exhibit 3-d [June 2022 Our Farmers and Fruit]
                                                                                                 (emphasis added).
                                                                            6
                                                                                              e. Frequently Asked Questions. Currently on the Frequently Asked Questions
                                                                            7                    webpage, Defendant again reiterates that “Spindrift is the first and only sparkling
                                                                                                 water made with real fruit.” Exhibit 2-d [Dec. 2022 FAQs] (emphasis added).
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                                                                                                 Similarly, Defendant previously posed the question: “What are natural flavors?
                                                                                                 And why don’t you use them in Spindrift?” Id.; Exhibit 3-e [June 2022 FAQs].
                                                                            9                    Defendant answered this question by stating that it wants “to be as honest and
                                                                                                 simple as possible with our ingredients and the taste of fresh, real fruit is
                                                                           10                    unparalleled. In the beginning, like many companies, we used natural flavors in
                                                                                                 some products in order to guarantee taste from one batch to the next. Our natural
                                                                           11                    flavors come from real fruit and berries such as carrot and blackcurrant. But we
                                                                                                 wanted to be even simpler and more transparent with our products, so we decided
                                                                           12                    to reformulate all our products to remove natural flavors and use even more fruit.
                                                                                                 Today every Spindrift is made of only real fruit + sparkling water (that’s it!).”
                                                                           13                    Id. (emphasis added).
                                                                           14                 f. In the Press. Defendant’s In the Press webpage showcases numerous news
                                                                                                 websites and companies that further advertises the Products as solely containing
                                                                           15                    sparkling water and real squeezed fruit. Some of the advertisement snippets
                                                                                                 included: “Spindrift is the only flavored seltzer made with actual fruit. Not fruit
                                                                           16                    flavoring like the other brands, but real, whole fruit … Spindrift uses fresh fruit
                                                                                                 juice, with the pulp to prove it … you won’t find any artificial ingredients or
                                                                           17                    added sugars in these pretty cans.” Exhibit 2-e [Dec. 2022 In the Press] (emphasis
                                                                                                 added); see also Exhibit 3-f [June 2022 In the Press] (emphasis added).
                                                                           18
                                                                                              g. Blog Posts. Further, Defendant publishes various blog posts highlighting the
                                                                           19                    importance of simple and clean ingredients in its products, specifically the
                                                                                                 Products at issue. See Exhibit 2-f [Dec. 2022 The Drift Blog Post Homepage];
                                                                           20                    Exhibit 2-g [Our Ingredients are simple, but making our product is anything but]
                                                                                                 (“At Spindrift, our focus is quality, real ingredients and creating a delicious
                                                                           21                    product that tastes incredible. To accomplish this, we let real fruit guide us. We
                                                                                                 believe in being transparent about what goes into our product—and, just as
                                                                           22                    importantly—being transparent with our Drifter community.”) (emphasis added);
                                                                                                 Exhibit 2-h [Introducing Blood Orange Tangerine] (“With a multi-dimensional
                                                                           23                    and almost berry-like depth that comes from real squeezed blood oranges that is
                                                                                                 perfectly highlighted by the bright, sweetness from real squeezed tangerines—the
                                                                           24                    taste is anything but oidinary.”) (emphasis added); Exhibit 2-i [The Clean Slate
                                                                                                 Café] (“We’ve long believed that simple, real ingredients are the way to go.”)
                                                                           25                    (emphasis added); Exhibit 2-j [Real fruit, never from concentrate] (“[W]e use real
                                                                                                 juice, never from concentrate…we like to keep it simple and delicious…We keep
                                                                           26                    processing to a minimum when we make Spindrift. When fruit is your only
                                                                           27   17
                                                                                  Defendant has since deleted this webpage (e.g., this webpage does not currently exist), but similar
                                                                           28   information regarding the use of local farmers appears on other current webpages. See generally
                                                                                Exhibit 2-b [Dec. 2022 What’s Inside].
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                                                                                                 ingredient, you want to let it speak for itself.”) (emphasis added); Exhibit 2-k
                                                                            1                    [Real Ingredients are Everything] (“Real Ingredients are everything…Now,
                                                                                                 Spindrift is real simple; it’s real fruit + sparkling water. As more people look
                                                                            2                    carefully at the labels on their food and beverages, we’re proud to stand by
                                                                                                 ours…We’re fruit + carbonated water. Real fruit tastes better. We’re excited to
                                                                            3                    talk more about that; what we put into our products because it’s simple and
                                                                                                 delicious.”) (emphasis added); Exhibit 2-l [We’re Doubling Down on Real Fruit]
                                                                            4                    (blog post describing Defendant’s shift away from natural flavors: “[i]n fact we’ve
                                                                                                 decided to double down on our commitment to taste, transparency, and real,
                                                                            5                    simple ingredients by removing all natural flavors (or essences) from our
                                                                                                 unsweetened sparkling waters. Now, each and every can of Spindrift is made of
                                                                            6                    only sparkling water and real fruit. That’s it…We want to be as honest and
                                                                                                 simple as possible with our ingredients…Now we can say Spindrift = sparkling
                                                                            7                    water + real fruit. And nothing else. Yup, that’s it.”) (emphasis added).
                                                                            8          19.    Spiked Products Website. Defendant emphasizes the Spiked Representations in its
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                                                                            9   advertising of the Products as part of its marketing campaign and brand strategy to identify Spiked
                                                                           10   Products as solely containing two ingredients: spiked sparkling water and real squeezed fruit. Not
                                                                           11   only has Defendant labeled and packaged the Spiked Products with the Challenged Representations,
                                                                           12   but Defendant engaged in a marketing campaign initiated at the launch of Spiked Products and
                                                                           13   continuing through the Class Period that repeats and reinforces the Spiked Representation.
                                                                           14   Defendant’s    marketing     campaign      and     brand    strategy    is   evidenced     by    its
                                                                           15   https://www.spindriftspiked.com/ website. For example:
                                                                           16                 a. Homepage. On the homepage of Defendant’s Spiked Sparkling Water Homepage,
                                                                                                 Defendant includes images of the Products with the Challenged Representations.
                                                                           17                    Defendant reinforces the Challenged Representations by including the following
                                                                                                 language, “the real spiked sparkling with nothing to hide … real squeezed fruit
                                                                           18                    … nothing artificial.” Exhibit 4-a [Spiked Homepage] (emphasis added); see
                                                                                                 also Exhibit 4-b [Spiked] (same).
                                                                           19
                                                                                              b. The Story. On The Story Webpage, Defendant provides background on its spiked
                                                                           20                    sparkling water products. Exhibit 4-c [The Story] (“We like our drinks like we
                                                                                                 like our fruit. Real….Spindrift—America’s first sparkling water made with real
                                                                           21                    squeezed fruit and its company namesake—was born….Think of Spiked as the
                                                                                                 sequel to the Spindrift story….With sparkling water, real squeezed fruit, and 4%
                                                                           22                    alcohol from ultra-filtered fermented cane suage, Spiked is the Spindrift you
                                                                                                 already love, plus a bit of ABV.” Id. (emphasis added). Defendant again attempts
                                                                           23                    to differentiate its Spiked Products from its competitors by stating, “Spiked is
                                                                                                 different from other hard seltzers. Instead of artificial flavors, sweeteners,
                                                                           24                    additives, essences, or concentrates, we make Spiked with real ingredients and
                                                                                                 we put it all on the label. Simple and delicious, you can feel great about enjoying
                                                                           25                    Spiked poured over ice or chilled and right from the can.” Id. (emphasis added).
                                                                           26                 c. Frequently Asked Questions. Currently on the Frequently Asked Questions
                                                                                                 webpage, Defendant again reiterates that “Spindrift Spiked is made with
                                                                           27                    sparkling water, alcohol from fermented cane sugar and real squeezed fruit.
                                                                                                 Yup, that’s it … Spindrift Spiked does not contain any artificial or natural
                                                                           28                    flavors.” Exhibit 4-d [Spiked FAQs] (emphasis added) (“Spindrift Spiked is our
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                                                                                                 cleaner twist on hard seltzer—for those who choose to enjoy an alcoholic
                                                                            1                    beverage that has nothing to hide, and all the flavor from real squeezed fruit.”)
                                                                                                 (emphasis added).
                                                                            2
                                                                                              d. Blog Posts. Further, Defendant publishes various blog posts highlighting the
                                                                            3                    importance of simple and clean ingredients in its products, specifically the
                                                                                                 Products at issue. See Exhibit 2-m [Spindrift Spiked. Finally.] (“We are super
                                                                            4                    excited to share with you that we’ve cracked the code on a new, delicious addition
                                                                                                 to our family. Introducing…Spindrift Spiked – a radically clean, ultra-delicious,
                                                                            5                    low alcohol sparkling water made only from real ingredients….So we’ve taken
                                                                                                 the process that we used to develop Spindrift Sparkling Water: all real
                                                                            6                    ingredients, cold processing, no synthetics, delicious – and introduced a low level
                                                                                                 of alcohol made from fermented cane sugar at a social 4% ABV.”) (emphasis
                                                                            7                    added).
                                                                            8          20.    Social Media Representations. Defendant continuously uses deceptive marketing
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                                                                            9   techniques to falsely portray its Products with the Challenged Representations, emphasizing that the
                                                                           10   Products are only made with sparkling water or spiked sparkling water and real squeezed fruit,
                                                                           11   taking advantage of social media platforms like Instagram, Twitter, Facebook, and Pinterest. For
                                                                           12   example:
                                                                                              a. Spindrift Sparkling Water Products Instagram. Defendant’s Instagram profile
                                                                           13                    for the Sparkling Water Products markets and advertises the products as
                                                                                                 “sparkling water + real squeezed fruit,” emphasizing the Challenged
                                                                           14                    Representations, repeatedly using the hashtag “#yupthatsit.” Examples are
                                                                                                 depicted below:
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                                                                                                                                                Website: @drinkspindrift
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                                                                                                                                                https://www.instagram.com/p/CjJQo
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                                                                                                                                                Date Captured: 12/19/2022
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                                                                                            b. Spindrift Spiked Products Instagram Profile. Defendant’s Instagram profile for
                                                                            1                  the Spiked Products markets and advertises the products as “sparkling water,
                                                                                               alcohol from cane sugar, & real squeezed fruit,” emphasizing the Challenged
                                                                            2                  Representations, and repeatedly using the hashtag “#yupthatsit.” Examples are
                                                                                               depicted below:
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                                                                                      c. Spindrift Sparkling Water Products Twitter Profile. Defendant’s official
                                                                            1            Twitter profile for its Sparkling Water Products markets and advertises the
                                                                                         Products with the Challenged Representations, further emphasizing that it
                                                                            2            “make[s] sparkling water that tastes like real fruit because its made with real fruit.”
                                                                                         In June 2022, Defendant also used the hashtag “#yupthatsit” in its bio. Examples
                                                                            3            are depicted below:
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                                                                                            d. Spindrift Spiked Products Twitter Profile. Defendant’s official Twitter account
                                                                            1                  for the Spiked Products markets and advertises the products with the Challenged
                                                                                               Representations. Examples are depicted below:
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                                                                                      e. Spindrift Sparkling Water Products Facebook Screenshot. Defendant’s
                                                                            1            Facebook account for the Sparkling Water Products also markets and advertises
                                                                                         the Products with the Challenged Representations. Further, on Defendant’s
                                                                            2            “About” Page, Defendant boasts, “[a]t Spindrift, we make sparkling water with
                                                                                         real, squeezed fruit. Yup, that’s it!” Examples are depicted below:
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                                                                                                                 Webpage: Spindrift Sparkling Water
                                                                           27                                    URL: https://www.facebook.com/drinkspindrift
                                                                                                                 Date Captured: 12/19/2022
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                                                                                      f. Spindrift Spiked Facebook Screenshot. Defendant also has a Facebook account
                                                                            1            for the Spindrift Spiked Products and again markets the Products with the
                                                                                         Challenged Representations, emphasizing that the Products are made only of
                                                                            2            “sparkling water, alcohol from cane sugar & real squeezed fruit. #yupthatsit,” as
                                                                                         depicted below:
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                                                                                                                   Webpage: @spindriftspiked
                                                                           15                                      URL: https://www.facebook.com/spindriftspiked
                                                                                                                   Date Captured: 12/19/2022
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                                                                                      g. Pinterest Screenshot. Defendant’s Pinterest account also advertises and markets
                                                                           17            the Products with the Challenged Representations, once again emphasizing that
                                                                                         the Products are “[j]ust sparkling water & real squeezed fruit. Yup, that’s it.”
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                                                                           27                                                          Webpage: @drinkspindrift
                                                                                                                                       Date Captured: 6/24/2022
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                                                                            1           21.   Third-Party Retailer Representations. Defendant continuously advertises and

                                                                            2   markets the Products with the Challenged Representations to falsely portray that the Products only

                                                                            3   consist of water (sparkling or spiked) and real squeezed fruit, taking advantage of Third-Party Retail

                                                                            4   Platforms like Amazon and Drizly. For example:

                                                                            5                 a. Amazon Advertisements. Defendant maintains an Amazon Storefront and
                                                                                                 continues to advertise and market the Products with the Challenged
                                                                            6                    Representations, emphasizing that Defendant uses “real fruit. really.” Further,
                                                                                                 Defendant includes a video advertisement, in which the Chief Executive Officer
                                                                            7                    claims that “if you’re going to stand for sparkling water and real ingredients, it has
                                                                                                 to be genuine, has to be real, and you have to be able to stand behind your
                                                                            8
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                                                                                                 product and the ingredients.” The video is also titled with the Challenged
                                                                                                 Representations: “JUST SPARKLING WATER & REAL SQUEEZED FRUIT.
                                                                            9                    YUP, THAT’S IT.” Examples are depicted below:
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                                                                                      Webpage: Spindrift Storefront
                                                                           20         URL: https://www.amazon.com/stores/Spindrift/page/F0370335-6722-4A85-
                                                                                      9DC3-
                                                                           21         169A57E0CFFC?ref_=ast_dp_bln_nofrnas_sto&store_ref=bl_ast_dp_nofrnas_sto
                                                                                      Date Captured: 6/24/2022
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                                                                           14       Webpage: Spindrift Storefront
                                                                           15       URL: https://www.amazon.com/stores/Spindrift/page/F0370335-6722-4A85-
                                                                                    9DC3-
                                                                           16       169A57E0CFFC?ref_=ast_dp_bln_nofrnas_sto&store_ref=bl_ast_dp_nofrnas_sto
                                                                                    Date Captured: 6/24/2022
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                                                                           18         D.      Plaintiff and Reasonable Consumers Were Misled by the Challenged
                                                                           19                 Representations into Buying the Products, to Their Detriment, Consistent with
                                                                           20                 Defendant’s Deliberate Marketing Scheme to Exact a Premium for the Falsely
                                                                           21                 Advertised Products
                                                                           22          22.    Products. Defendant manufactures, markets, promotes, advertises, labels, packages,
                                                                           23   and sells sparkling water and spiked sparkling water beverages—specifically, Spindrift® brand
                                                                           24   Sparkling Water Products and Spiked Products—each of which displays the Challenged
                                                                           25   Representations on the Products’ front-facing labels and packaging and contain MCA as an
                                                                           26   ingredient. See, supra, ¶ 4 (identifying Products).
                                                                           27          23.    The Challenged Representations. On the Products’ labeling and packaging,
                                                                           28   Defendant prominently, conspicuously, and repeatedly displays the Challenged Representations—
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                                                                            1   specifically, “SPARKLING WATER & REAL SQUEEZED FRUIT, yup, that’s it” (see Exhibit

                                                                            2   1-1 to 1-4 [Product Images for Spindrift® Sparkling Water]) and “spiked sparkling water. Real

                                                                            3   squeezed [fruit]. YUP THAT’S IT” (see Exhibit 1-5 to 1-12 [Product Images for Spindrift®

                                                                            4   Spiked Sparkling Water]). Defendant also uses statements and imagery to reinforce the Challenged

                                                                            5   Representations throughout the Products’ labels and packaging and Defendant’s advertising

                                                                            6   campaign and brand strategy to differentiate the Products as only contain two types of ingredients—

                                                                            7   sparkling water or spiked sparkling water and real squeezed fruit.

                                                                            8          24.    Reasonable Consumer’s Perception. The Challenged Representations, in isolation
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                                                                            9   or combined with Defendant’s pervasive marketing campaign and brand strategy, lead reasonable
                                                                           10   consumers, like Plaintiff, into believing that the Products conform to the Challenged
                                                                           11   Representations. More specifically, reasonable consumers interpret the Challenged Representations
                                                                           12   to mean that the Products only contain two types of ingredients: sparkling water or spiked sparkling
                                                                           13   water and real squeezed fruit, to the exclusion of any synthetic or artificial flavoring agents and
                                                                           14   preservatives, like manufactured citric acid. Indeed, common-sense dictionary definitions for “real”
                                                                           15   are consistent with the reasonable consumer’s perception that the sparkling water and spiked
                                                                           16   sparkling water beverages only contain actual fruit and not any artificial or synthetic flavoring
                                                                           17   additives or preservatives.
                                                                           18         a.      The Merriam Webster dictionary defines “real” as, inter alia, “not artificial,” “not
                                                                                              artificial or fake,” and “actual,” and provides synonyms like “authentic” and
                                                                           19                 “genuine.”      MERRIAM       WEBSTER,      Real,    at     https://www.merriam-
                                                                                              webster.com/dictionary/real (accessed 12/23/2022).
                                                                           20
                                                                                      b.      The Cambridge Dictionary defines “real” as, inter alia, “being what it appears to be
                                                                           21                 and not false,” “(especially of foods) produced using traditional methods and without
                                                                                              artificial substances,” and “being what it appears to be; genuine.” CAMBRIDGE
                                                                           22                 DICTIONARY, Real, at https://dictionary.cambridge.org/us/dictionary/english/real
                                                                                              (accessed 12/23/2022).
                                                                           23
                                                                                      c.      The Free Dictionary defines “real” as, inter alia, “Genuine and authentic; not
                                                                           24                 artificial,” “Free of pretense[ or] falsehood,” “true; actual; not false,” “not artificial or
                                                                                              simulated; genuine,” “(Cookery) (of food, etc) traditionally made and having a distinct
                                                                           25                 flavour,” “the real thing the genuine article, not an inferior or mistaken substitute,”
                                                                                              “being actually such; not merely so-called,” “genuine; authentic,” “no less than what
                                                                           26                 is stated; worth of the name,” “being or reflecting the . . . genuine character of
                                                                                              something,” “true, actual, genuine,” “authentic, bona fide,” “Not counterfeit or
                                                                           27                 copied,” “not imitation; genuine,” “actual,” and explains “You . . . use real to say that
                                                                                              a substance or object is genuine and not artificial.” FREE DICTIONARY, Real, at
                                                                           28                 https://www.thefreedictionary.com/real (accessed 12/23/2022) (emphasis removed).
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                                                                                      d.      The Collins Dictionary defines “real” as, inter alia, “A material or object that is real
                                                                            1                 is natural or functioning, and not artificial or an imitation,” “actual, true,” “authentic;
                                                                                              genuine,” “being actually such; not merely so-called,” “genuine; not counterfeit,
                                                                            2                 artificial, or imitation; authentic,” “true; actual; not false,” “not artificial or simulated;
                                                                                              genuine,” “(of food, etc) traditionally made and having a distinct flavour,” and
                                                                            3                 explains “You can use real to emphasize a quality that is genuine and sincere.”
                                                                                              COLLINS                       DICTIONARY,                         Real,                     at
                                                                            4                 https://www.collinsdictionary.com/us/dictionary/english/real (accessed 12/23/2022).
                                                                            5         e.      The Oxford Learner’s Dictionaries define “real” as, inter alia, “true/not false,” “not
                                                                                              false or artificial,” and “actual or true.” OXFORD LEARNER’S DICTIONARIES, Real, at
                                                                            6                 https://www.oxfordlearnersdictionaries.com/us/definition/english/real_1 (accessed
                                                                                              12/23/2022).
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                                                                            8          25.    Materiality. The Challenged Representations are material to reasonable consumers,
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                                                                            9   including Plaintiff, in deciding to buy the Products. Specifically, the simple and clean ingredient
                                                                           10   list—containing only sparkling water or spiked sparkling water and real fruit, to the exclusion of
                                                                           11   artificial or synthetic flavoring agents and preservatives—is important to consumers and motivates
                                                                           12   them to buy the Products.
                                                                           13          26.    Reliance. The Class, including Plaintiff, reasonably relied on the Challenged
                                                                           14   Representations in deciding to purchase the Products as the Challenged Representations, including
                                                                           15   reinforcing claims and imagery, are displayed on all or nearly all sides of Products’ labels and
                                                                           16   packaging, including the front-facing primary display panel, and the implicit or explicit promise of
                                                                           17   containing only two types of ingredients—sparkling water or spiked sparkling water and real fruit,
                                                                           18   to the exclusion of artificial or synthetic flavoring agents and preservatives (like MCA)—is material

                                                                           19   to reasonable consumers of the Products.

                                                                           20          27.    Falsity. The Challenged Representations are false and deceptive because the Products

                                                                           21   contain ingredients other than sparkling water or spiked sparkling water and real squeezed fruit.

                                                                           22   Specifically, the Products contain manufactured citric acid, which is an artificial or synthetic

                                                                           23   flavoring agent and preservative that is not squeezed from real fruit, let alone consists of carbonated

                                                                           24   water or alcohol.

                                                                           25          28.    Consumers Lack Knowledge of Falsity. Consumers, including Plaintiff, do not

                                                                           26   know, and have no reason to know, at the time of purchase, that the Products’ Challenged

                                                                           27   Representations are false, misleading, deceptive, and unlawful. That is because consumers,

                                                                           28   including Plaintiff, do not work for Defendant and therefore have no personal knowledge of the
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                                                                            1   actual ingredients used to make the Products or how those ingredients are made, including whether

                                                                            2   the citric acid is squeezed from fruits or synthesized or artificially created from black mold

                                                                            3   cultivated from corn syrup or root vegetables. Additionally, average consumers do not have the

                                                                            4   specialized knowledge of a chemist or product-developer. Thus, reasonable consumers, like

                                                                            5   Plaintiff, cannot discern from the Products’ ingredient disclosures whether ingredients, like “citric

                                                                            6   acid,” are sourced from fruit or not. Furthermore, reasonable consumers, like Plaintiff, do not

                                                                            7   ordinarily review subsidiary or fine print information regarding consumer products—whether

                                                                            8   contained on the products’ labels, packaging, or in advertisements, including websites. 18
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                                                                            9          29.    Defendant’s Knowledge. Defendant knew, or should have known, that the
                                                                           10   Challenged Representations were false, misleading, deceptive, and unlawful, at the time that
                                                                           11   Defendant manufactured, marketed, advertised, labeled, and sold the Products using the Challenged
                                                                           12   Representations to Plaintiff and the Class. Defendant intentionally and deliberately used the
                                                                           13   Challenged Representations, alongside its massive marketing campaign and brand strategy, to cause
                                                                           14   Plaintiff and similarly situated consumers to buy the Products believing that the Challenged
                                                                           15   Representations are true.
                                                                           16                 a. Knowledge of Falsity. Defendant marketed the Products with the Challenged
                                                                                                 Representations, but Defendant opted to formulate and manufacture them in a
                                                                           17                    manner that does not conform to those representations. Specifically, Defendant
                                                                                                 advertised, labeled, and packaged the Products with the Challenged
                                                                           18                    Representations, but, instead of using only ingredients that are sparkling water or
                                                                                                 spiked sparkling water and real squeezed fruit, Defendant chose to make the
                                                                           19                    Products with manufactured citric acid. MCA is an artificial or synthetic flavoring
                                                                                                 agent and preservative that is not squeezed from real fruit, let alone consists of
                                                                           20                    carbonated water or alcohol. Instead, MCA is synthesized from black mold
                                                                                                 cultivated from corn syrup or vegetables.
                                                                           21

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                                                                           23      Grunert, Klaus, et. al, Nutrition knowledge, and use and understanding of nutrition information
                                                                                on food labels among consumers in the UK, 55 Appetite 177, at 179-181 (2010) available at
                                                                           24   https://reader.elsevier.com/reader/sd/pii/S0195666310003661?token=95E4146C1BB7D7A7C9A4
                                                                                87F22F0B445BD44499550086E04870765EBE116ED32DBFE3795E60B69C75831563CD1BC6
                                                                           25   655A&originRegion=us-east-1&originCreation=20220720162546 (last accessed July 20, 2022);
                                                                                Grunert, Klaus, et. al, Use and understanding of nutrition information on food labels in six European
                                                                           26   countries, 18(3) Journal of Public Health 261, 261, 263, 266 (2010), available at
                                                                                https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2967247/ (last accessed July 20, 2022); Benn,
                                                                           27   Yael, et al., What information do consumers consider and how do they look for it, when shopping
                                                                                for     groceries    online,    89     Appetite   265,      265,   270     (2015),     available    at
                                                                           28   https://www.sciencedirect.com/science/article/pii/S0195666315000422#bib0060 (last accessed Jul.
                                                                                20, 2022).
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                                                                                      b. Knowledge of Reasonable Consumers’ Perception. Defendant knew, or should
                                                                            1            have known, that the Challenged Representations would lead reasonable
                                                                                         consumers into believing that the Products were composed entirely of sparkling
                                                                            2            water or spiked sparkling water and real squeezed fruit—i.e., the Products do not
                                                                                         contain artificial or synthetic flavoring agents and preservatives (like MCA). Not
                                                                            3            only has Defendant labeled and packaged each of the Products with the
                                                                                         Challenged Representations and executed a long-standing brand strategy and
                                                                            4            advertising campaign to identify the Products with the Challenged
                                                                                         Representations, but Defendant also has an obligation under section 5 of the
                                                                            5            Federal Trade Commission Act, codified at 15 U.S.C. §§ 45, to evaluate its
                                                                                         marketing claims from the perspective of the reasonable consumer. That means
                                                                            6            Defendant was statutorily obligated to consider whether the Challenged
                                                                                         Representations, be it in isolation or conjunction with its marketing campaign,
                                                                            7            would mislead reasonable consumers into believing that the Products were
                                                                                         entirely composed of sparkling or spiked sparkling water and real squeezed fruit—
                                                                            8
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                                                                                         devoid of any artificial or synthetic flavoring agents and preservatives (like
                                                                                         MCA). Thus, Defendant either knew the Challenged Representations are
                                                                            9            misleading before it marketed the Products to the Class, including Plaintiff, or
                                                                                         Defendant would have known that they are deceptive had Defendant complied
                                                                           10            with its statutory obligations.
                                                                           11         c. Knowledge of Materiality. Defendant knew or should have known that the
                                                                                         Challenged Representations are material to consumers. First, manufacturers and
                                                                           12            marketers, like Defendant, generally reserve the front primary display panel of
                                                                                         labels of packaging on consumer products for the most important and persuasive
                                                                           13            information, which they believe will motivate consumers to buy the products.
                                                                                         Here, the conspicuousness of the Challenged Representations on the Products’
                                                                           14            labels and packaging demonstrates Defendant’s awareness of its importance to
                                                                                         consumers and Defendant’s understanding that consumers prefer and are
                                                                           15            motivated to buy products that conform to the Challenged Representations.
                                                                                         Second, manufacturers and marketers repeat marketing claims to emphasize and
                                                                           16            characterize a brand or product line, shaping the consumers’ expectations, because
                                                                                         they believe those repeated messages will drive consumers to buy the Product.
                                                                           17            Here, the constant, unwavering use of the Challenged Representations on the
                                                                                         Products, advertisements, and throughout Defendant’s marketing campaign,
                                                                           18            evidence Defendant’s awareness that the falsely advertised Product-attribute is
                                                                                         important to consumers. It also evidences Defendant’s intent to convince
                                                                           19            consumers that the Products conform to the Challenged Representations and,
                                                                                         ultimately, drive sales. Third, Defendant unabashedly has repeatedly admitted that
                                                                           20            simple ingredient lists motivate consumers in their purchasing decisions. Exhibit
                                                                                         2-c [Dec. 2022 Our Story] (“At Spindrift, our favorite thing – besides real fruit –
                                                                           21            is engaging with those who drink Spindrift: our community of Drifter. They’re
                                                                                         real, authentic, and 100% unabashedly themselves. They celebrate quality and
                                                                           22            craft. Like us, they always aspire to be just *a little* better. They try to make life
                                                                                         better and more fun for others. They savor the good things in life.”).
                                                                           23
                                                                                      d. Defendant’s Continued Deception, Despite Its Knowledge. Defendant, as the
                                                                           24            manufacturer and marketer of the Products, had exclusive control over the
                                                                                         Challenged Representations’ inclusion on the Products’ labels, packaging, and
                                                                           25            advertisements—i.e., Defendant readily and easily could have stopped using the
                                                                                         Challenged Representations to sell the Products. However, despite Defendant’s
                                                                           26            knowledge of the Challenged Representations falsity, and Defendant’s knowledge
                                                                                         that consumers reasonably rely on the Challenged Representations in deciding to
                                                                           27            buy the Products, Defendant deliberately chose to market the Products with the
                                                                                         Challenged Representations thereby misleading consumers into buying or
                                                                           28            otherwise overpaying for the Products. Thus, Defendant knew, or should have
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                                                                                                 known, at all relevant times, that the Challenged Representations misleads
                                                                            1                    reasonable consumers, such as Plaintiff, into buying the Products to attain the
                                                                                                 product-attributes that Defendant falsely advertised and warranted. Indeed,
                                                                            2                    notwithstanding Plaintiff’s demand to Defendant to stop misleading consumers
                                                                                                 with the Challenged Representations, Defendant has continued to market the
                                                                            3                    Products using the Challenged Representations. See Exhibit 5 [Pre-Litigation
                                                                                                 Demand].
                                                                            4

                                                                            5           30.   Detriment. Plaintiff and similarly situated consumers would not have purchased the

                                                                            6   Products, or would not have overpaid a price premium for the Products, if they had known that the

                                                                            7   Challenged Representations were false and, therefore, the Products do not have the attribute

                                                                            8   claimed, promised, warranted, advertised, and/or represented. Indeed, similar competitor products
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                                                                            9   that do not claim to be comprised of only two types of ingredients—sparkling water or spiked
                                                                           10   sparkling water and real fruit (to the exclusion of artificial or synthetic flavoring agents and
                                                                           11   preservatives)—sell for a lower retail price compared to the Products. For example:
                                                                           12          Carbonated Water Beverages w/ Fruit Flavoring: Pricing 19
                                                                                          Spindrift Sparkling Water Blood Orange Tangerine (8-Pack, 12 oz cans)       :   $6.99
                                                                           13             Spindrift Sparkling Water Mango Orange (8-Pack, 12 oz cans)                 :   $6.99
                                                                                          Spindrift Sparkling Water Pineapple (8-Pack, 12 oz cans)                    :   $6.99
                                                                           14             La Croix Tangerine Core (8-Pack, 12 oz cans)                                :   $4.49
                                                                                          Bubly Mango (8-Pack, 12 oz cans)                                            :   $4.29
                                                                           15             Bubly Coconut Pineapple (8-Pack, 12 oz cans)                                :   $4.29
                                                                           16

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                                                                                  The following pricing reflects non-sale pricing. See, e.g., VONS, Spindrift Sparkling Water (Blood
                                                                           24   Orange Tangerine), at https://www.vons.com/shop/product-details.960188808.html (accessed
                                                                                1/3/2022);      VONS,       Spindrift      Sparkling       Water       (Mango        Orange),      at
                                                                           25   https://www.vons.com/shop/product-details.960293901.html (accessed 1/3/2022); TARGET,
                                                                                Spindrift Sparkling Water (Pineapple), at https://www.target.com/p/spindrift-pineapple-sparkling-
                                                                           26   water-8pk-12-fl-oz-cans/-/A-79314620#lnk=sametab; VONS, La Croix Sparkling Water (Tangerine
                                                                                Core), at https://www.vons.com/shop/product-details.970309094.html (accessed 1/3/2022);
                                                                           27   TARGET, Bubly Sparkling Water (Mango), at https://www.target.com/p/bubly-mango-sparkling-
                                                                                water-8pk-12-fl-oz-cans/-/A-53081705#lnk=sametab; TARGET, Bubly Sparkling Water (Coconut
                                                                           28   Pineapple), at https://www.target.com/p/bubly-coconut-pineapple-sparkling-water-8pk-12-fl-oz-
                                                                                cans/-/A-82259040#lnk=sametab.
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                                                                            1         Carbonated Water Alcoholic Beverages w/ Fruit Flavoring: Pricing 20
                                                                                         Spindrift Spiked Paradise Variety Pack (12-Pack, 12 oz cans)                :   $24.99
                                                                            2            Spindrift Spiked Stacation Variety Pack (12-Pack, 12 oz cans)               :   $24.99
                                                                                         White Claw Variety Pack 1 (12-pack, 12 oz cans)                             :   $19.99
                                                                            3            White Claw Variety Pack 2 (12-pack, 12 oz cans)                             :   $19.99
                                                                                         Topo Chico Variety Pack (12-Pack, 12 oz cans)                               :   $17.99
                                                                            4            Truly Hard Seltzer Tropical Variety Pack (12-Pack, 12 oz cans)              :   $20.99
                                                                            5   Accordingly, based on Defendant’s material misrepresentations and omissions, reasonable
                                                                            6   consumers, including Plaintiff, purchased the Products to their detriment.
                                                                            7         E.     The Products are Substantially Similar
                                                                            8
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                                                                                       31.   As described herein, Plaintiff purchased one or more Products identified above
                                                                            9   (“Purchased Product(s)”). See, supra, ¶ 8. The additional Products (collectively, the
                                                                           10   “Unpurchased Products”) are substantially similar to the Purchased Product(s).
                                                                           11                a. Defendant. All Products are manufactured, sold, marketed, advertised, labeled,
                                                                                                and packaged by Defendant.
                                                                           12
                                                                                             b. Brand. All Products are sold under the same brand name: Spindrift®. Indeed,
                                                                           13                   Defendant markets the Spiked Products as a variation of the Sparkling Water
                                                                                                Products. See Exhibit 4-c [Spindrift Spiked - The Story] (“Think of Spiked as the
                                                                           14                   sequel to the Spindrift Story….a spiked version of our product”).
                                                                           15                c. Purpose. All Products are sparkling water beverages intended for human
                                                                                                consumption.
                                                                           16

                                                                           17                d. Key Ingredients. All Products are made from largely the same ingredients—
                                                                                                specifically, sparkling water or spiked sparkling water, real squeezed fruit, and
                                                                           18                   manufactured citric acid.

                                                                                             e. Marketing Demographics. All Products are marketed directly to consumers for
                                                                           19                   personal use.
                                                                           20                f. Challenged Misrepresentations. All Products contain the same Challenged
                                                                                                Representations (“SPARKLING WATER & REAL SQUEEZED FRUIT yup
                                                                           21                   that’s it” and “spiked sparkling water. real squeezed [fruit]. YUP THAT’S
                                                                           22   20
                                                                                   The following pricing reflects non-sale pricing. See, e.g., KEG N BOTTLE, Spindrift Spiked Water
                                                                           23   (Paradise Variety Pack), at https://kegnbottle.com/products/spindrift-paradise-pack-spiked-seltzer-
                                                                                12-pack-cans (accessed 1/3/2023); KEG N BOTTLE, Spindrift Spiked Water (Stacation Variety
                                                                           24   Pack),         at          https://kegnbottle.com/products/spindrift-spiked-seltzer-water-12-pack-
                                                                                variety?pr_prod_strat=copurchase&pr_rec_id=9b29d046a&pr_rec_pid=6552738496641&pr_ref_
                                                                           25   pid=6556418703489&pr_seq=uniform (accessed 1/3/2023); KEG N BOTTLE, Whitleclaw (Variety
                                                                                Pack 1), at https://kegnbottle.com/products/white-claw-variety-pack-no-1-12pk (accessed at
                                                                           26   1/3/2022); KEG N BOTTLE, Whitleclaw (Variety Pack 2), at https://kegnbottle.com/products/white-
                                                                                claw-variety-pack-no-2-12pk (accessed 1/3/2022); TARGET, Topo Chico (Variety Pack), at
                                                                           27   https://www.target.com/p/topo-chico-hard-seltzer-variety-pack-12pk-12-fl-oz-slim-cans/-/A-
                                                                                81815228#lnk=sametab; TARGET, Truly Hard Seltzer (Tropical Variety Pack), at
                                                                           28   https://www.target.com/p/truly-hard-seltzer-tropical-mix-pack-12pk-12-fl-oz-slim-cans/-/A-
                                                                                53980121#lnk=sametab.
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                                                                                                 IT.”) conspicuously and prominently placed on the front label and packaging for
                                                                            1                    the Products. See Exhibit 1 [Product Images]. Defendant reinforces the
                                                                                                 Challenged Representations by repeating them, similar statements, and images of
                                                                            2                    fruit on all or nearly all sides of the Products’ packaging, reinforcing the same
                                                                                                 core marketing claim—that the Products only contain sparkling water or spiked
                                                                            3                    sparkling water and real fruit, to the exclusion of synthetic or artificial flavoring
                                                                                                 agents and preservatives. Id. Defendant buttresses the Challenged Representations
                                                                            4                    through a pervasive and consistent brand strategy and marketing campaign to
                                                                                                 identify the Spindrift® brand and the Products as sparkling or spiked sparkling
                                                                            5                    waters that only contain real squeezed fruit (yup, that’s it). See Exhibit 2 [Dec.
                                                                                                 2022 Digital Marketing - Sparkling Waters]; Exhibit 3 [June 2022 Digital
                                                                            6                    Marketing - Sparkling Waters]; Exhibit 4 [Dec. 2022 Digital Marketing - Spiked
                                                                                                 Waters].
                                                                            7
                                                                                              g. Packaging. All Products are packaged in similar packaging—using all white or
                                                                            8
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                                                                                                 all blue backgrounds, and bold styles/fonts/type face to draw the consumers’
                                                                                                 attention to Challenged Representations and reinforcing imagery and statements,
                                                                            9                    providing scant competing information regarding only a few additional product-
                                                                                                 attributes (e.g., size, unsweetened, and at times ultra filtered or caloric content).
                                                                           10                    See Exhibit 1 [Product Images]. The Products share in common the same core
                                                                                                 marketing claims written on the Products’ labels and packaging. Id.
                                                                           11
                                                                                              h. Misleading Effect. The misleading effect of the Challenged Representations on
                                                                           12                    consumers are the same for all Products—consumers are tricked into buying or
                                                                                                 otherwise over-paying a premium for Products that are composed of only
                                                                           13                    sparkling water or spiked sparkling water and real squeezed fruit, but they receive
                                                                                                 Products that, contrary to the Products’ labels and packaging, also contain
                                                                           14                    manufactured citric acid (an artificial or synthetic flavoring agent and
                                                                                                 preservative).
                                                                           15

                                                                           16         F.      No Adequate Remedy at Law

                                                                           17          32.    No Adequate Remedy at Law. Plaintiff and members of the Class are entitled to

                                                                           18   equitable relief as no adequate remedy at law exists.

                                                                           19                 a. Broader Statutes of Limitations. The statutes of limitations for the causes of
                                                                                                 action pled herein vary. The limitations period is four years for claims brought
                                                                           20                    under the UCL, which is one year longer than the statutes of limitations under the
                                                                                                 FAL and CLRA. In addition, the statutes of limitations vary for certain states’
                                                                           21                    laws for breach of warranty and unjust enrichment/restitution, between
                                                                                                 approximately 2 and 6 years. Thus, California Subclass members who purchased
                                                                           22                    the Products more than 3 years prior to the filing of the complaint will be barred
                                                                                                 from recovery if equitable relief were not permitted under the UCL. Similarly,
                                                                           23                    Nationwide Class members who purchased the Products prior to the furthest
                                                                                                 reach-back under the statute of limitations for breach of warranty, will be barred
                                                                           24                    from recovery if equitable relief were not permitted for restitution/unjust
                                                                                                 enrichment.
                                                                           25
                                                                                              b. Broader Scope of Conduct. In addition, the scope of actionable misconduct
                                                                           26                    under the unfair prong of the UCL is broader than the other causes of action
                                                                                                 asserted herein. It includes, for example, Defendant’s overall unfair marketing
                                                                           27                    scheme to promote and brand the Products with the Challenged Representations,
                                                                                                 across a multitude of media platforms, including the Products’ labels and
                                                                           28                    packaging, over a long period of time, in order to gain an unfair advantage over
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                                                                                         competitor products and to take advantage of consumers’ desire for products that
                                                                            1            comport with the Challenged Representations. The UCL also creates a cause of
                                                                                         action for violations of law (such as statutory or regulatory requirements and court
                                                                            2            orders related to similar representations and omissions made on the type of
                                                                                         products at issue). Thus, Plaintiff and Class members may be entitled to restitution
                                                                            3            under the UCL, while not entitled to damages under other causes of action asserted
                                                                                         herein (e.g., the FAL requires actual or constructive knowledge of the falsity; the
                                                                            4            CLRA is limited to certain types of plaintiff (an individual who seeks or acquires,
                                                                                         by purchase or lease, any goods or services for personal, family, or household
                                                                            5            purposes) and other statutorily enumerated conduct).               Similarly, unjust
                                                                                         enrichment/restitution is broader than breach of warranty. For example, in some
                                                                            6            states, breach of warranty may require privity of contract or pre-lawsuit notice,
                                                                                         which are not typically required to establish unjust enrichment/restitution. Thus,
                                                                            7            Plaintiff and Class members may be entitled to recover under unjust
                                                                                         enrichment/restitution, while not entitled to damages under breach of warranty,
                                                                            8
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                                                                                         because they purchased the products from third-party retailers or did not provide
                                                                                         adequate notice of a breach prior to the commencement of this action.
                                                                            9
                                                                                      c. Injunctive Relief to Cease Misconduct and Dispel Misperception. Injunctive
                                                                           10            relief is appropriate on behalf of Plaintiff and members of the Class because
                                                                                         Defendant continues to misrepresent the Products with the Challenged
                                                                           11            Representations. Injunctive relief is necessary to prevent Defendant from
                                                                                         continuing to engage in the unfair, fraudulent, and/or unlawful conduct described
                                                                           12            herein and to prevent future harm—none of which can be achieved through
                                                                                         available legal remedies (such as monetary damages to compensate past harm).
                                                                           13            Further, injunctive relief, in the form of affirmative disclosures is necessary to
                                                                                         dispel the public misperception about the Products that has resulted from years of
                                                                           14            Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such disclosures
                                                                                         would include, but are not limited to, publicly disseminated statements that the
                                                                           15            Products’ Challenged Representations is not true and providing accurate
                                                                                         information about the Products’ true nature; and/or requiring prominent
                                                                           16            qualifications and/or disclaimers on the Products’ front label concerning the
                                                                                         Products’ true nature. An injunction requiring affirmative disclosures to dispel
                                                                           17            the public’s misperception and prevent the ongoing deception and repeat
                                                                                         purchases based thereon, is also not available through a legal remedy (such as
                                                                           18            monetary damages). In addition, Plaintiff is currently unable to accurately
                                                                                         quantify the damages caused by Defendant’s future harm, because discovery and
                                                                           19            Plaintiff’s investigation have not yet completed, rendering injunctive relief all the
                                                                                         more necessary. For example, because the court has not yet certified any class, the
                                                                           20            following remains unknown: the scope of the class, the identities of its members,
                                                                                         their respective purchasing practices, prices of past/future Product sales, and
                                                                           21            quantities of past/future Product sales.
                                                                           22         d. Public Injunction. Further, because a “public injunction” is available under the
                                                                                         UCL, damages will not adequately “benefit the general public” in a manner
                                                                           23            equivalent to an injunction.
                                                                           24         e. California vs. Nationwide Class Claims. Violation of the UCL, FAL, and CLRA
                                                                                         are claims asserted on behalf of Plaintiff and the California Subclass against
                                                                           25            Defendant, while breach of warranty and unjust enrichment/restitution are
                                                                                         asserted on behalf of Plaintiff and the Nationwide Class. Dismissal of farther-
                                                                           26            reaching claims, such as restitution, would bar recovery for non-California
                                                                                         members of the Class. In other words, legal remedies available or adequate under
                                                                           27            the California-specific causes of action (such as the UCL, FAL, and CLRA) have
                                                                                         no impact on this Court’s jurisdiction to award equitable relief under the
                                                                           28            remaining causes of action asserted on behalf of non-California putative class
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                                                                                                  members.
                                                                            1

                                                                            2   VI.    CLASS ACTION ALLEGATIONS

                                                                            3           33.   Class Definition. Plaintiff brings this action as a class action pursuant to Federal

                                                                            4   Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of himself and all others similarly situated,

                                                                            5   and as members of the Classes defined as follows:

                                                                            6                 All persons or entities that, within the applicable statute of limitations
                                                                                              periods, purchased the Products in the United States, displaying the
                                                                            7                 Challenged Representations on the Products’ labels or packaging and
                                                                                              containing manufactured citric acid, for purposes other than resale
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                                                                                              (“Nationwide Class”); and
                                                                            9                 All persons or entities that, within four years prior to the filing of this
                                                                                              Complaint through present, purchased the Products in California,
                                                                           10                 displaying the Challenged Representations on the Products’ labels or
                                                                                              packaging and containing manufactured citric acid, for purposes other
                                                                           11                 than resale (“California Subclass”).
                                                                           12   (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                                           13           34.   Class Definition Exclusions. Excluded from the Class are: (i) Defendant, its assigns,
                                                                           14   successors, and legal representatives; (ii) any entities in which Defendant has controlling interests;
                                                                           15   (iii) federal, state, and/or local governments, including, but not limited to, their departments,
                                                                           16   agencies, divisions, bureaus, boards, sections, groups, counsels, and/or subdivisions; and (iv) any
                                                                           17   judicial officer presiding over this matter and person within the third degree of consanguinity to
                                                                           18   such judicial officer.

                                                                           19           35.   Reservation of Rights to Amend the Class Definition. Plaintiff reserves the right to

                                                                           20   amend or otherwise alter the class definitions presented to the Court at the appropriate time in

                                                                           21   response to facts learned through discovery, legal arguments advanced by Defendant, or otherwise.

                                                                           22           36.   Numerosity: Members of the Class are so numerous that joinder of all members is

                                                                           23   impracticable. Upon information and belief, the Nationwide Class consists of tens of thousands of

                                                                           24   purchasers (if not more) dispersed throughout the United States, and the California Subclass

                                                                           25   likewise consists of thousands of purchasers (if not more) dispersed throughout the State of

                                                                           26   California. Accordingly, it would be impracticable to join all members of the Class before the Court.

                                                                           27

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                                                                            1          37.   Common Questions Predominate: There are numerous and substantial questions of

                                                                            2   law or fact common to all members of the Class that predominate over any individual issues.

                                                                            3   Included within the common questions of law or fact are:

                                                                            4         a.     Whether Defendant engaged in unlawful, unfair or deceptive business practices by
                                                                                             advertising and selling the Products;
                                                                            5
                                                                                      b.     Whether Defendant’s conduct of advertising and selling the Products as only
                                                                            6                containing sparkling water and real fruit, creating the reasonable assumption that the
                                                                                             Products’ fruit flavoring is solely derived from real fruit, when they contain added
                                                                            7                artificial ingredients, such as citric acid, constitutes an unfair method of competition,
                                                                                             or unfair or deceptive act or practice, in violation of Civil Code section 1750, et seq.;
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                                                                                      c.     Whether Defendant used deceptive representations in connection with the sale of the
                                                                            9                Products in violation of Civil Code section 1750, et seq.;
                                                                           10         d.     Whether Defendant represented that the Products have characteristics or quantities
                                                                                             that they do not have in violation of Civil Code section 1750, et seq.;
                                                                           11
                                                                                      e.     Whether Defendant advertised the Products with intent not to sell them as advertised
                                                                           12                in violation of Civil Code section 1750, et seq.;
                                                                           13         f.     Whether Defendant’s labeling and advertising of the Products are untrue or
                                                                                             misleading in violation of Business and Professions Code section 17500, et seq.;
                                                                           14
                                                                                      g.     Whether Defendant knew or by the exercise of reasonable care should have known its
                                                                           15                labeling and advertising was and is untrue or misleading in violation of Business and
                                                                                             Professions Code section 17500, et seq.;
                                                                           16
                                                                                      h.     Whether Defendant’s conduct is an unfair business practice within the meaning of
                                                                           17                Business and Professions Code section 17200, et seq.;
                                                                           18         i.     Whether Defendant’s conduct is a fraudulent business practice within the meaning of
                                                                                             Business and Professions Code section 17200, et seq.;
                                                                           19
                                                                                      j.     Whether Defendant’s conduct is an unlawful business practice within the meaning of
                                                                           20                Business and Professions Code section 17200, et seq.;
                                                                           21         k.     Whether Plaintiff and the Class paid more money for the Products than they actually
                                                                                             received;
                                                                           22
                                                                                      l.     How much more money Plaintiff and the Class paid for the Products than they actually
                                                                           23                received;
                                                                           24         m.     Whether Defendant’s conduct constitutes breach of warranty;
                                                                           25         n.     Whether Plaintiff and the Class are entitled to injunctive relief; and
                                                                           26         o.     Whether Defendant was unjustly enriched by their unlawful conduct.
                                                                           27

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                                                                            1          38.    Typicality: Plaintiff’s claims are typical of the claims of the Class Members he seeks

                                                                            2   to represent because Plaintiff, like the Class Members, purchased Defendant’s misleading and

                                                                            3   deceptive Products. Defendant’s unlawful, unfair and/or fraudulent actions concern the same

                                                                            4   business practices described herein irrespective of where they occurred or were experienced.

                                                                            5   Plaintiff and the Class sustained similar injuries arising out of Defendant’s conduct. Plaintiff’s and

                                                                            6   Class Members’ claims arise from the same practices and course of conduct and are based on the

                                                                            7   same legal theories.

                                                                            8          39.    Adequacy: Plaintiff is an adequate representative of the Class he seeks to represent
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                                                                            9   because his interests do not conflict with the interests of the Class Members Plaintiff seeks to
                                                                           10   represent. Plaintiff will fairly and adequately protect Class Members’ interests and has retained
                                                                           11   counsel experienced and competent in the prosecution of complex class actions, including complex
                                                                           12   questions that arise in consumer protection litigation.
                                                                           13          40.    Superiority and Substantial Benefit: A class action is superior to other methods for
                                                                           14   the fair and efficient adjudication of this controversy, since individual joinder of all members of the
                                                                           15   Class is impracticable and no other group method of adjudication of all claims asserted herein is
                                                                           16   more efficient and manageable for at least the following reasons:
                                                                           17         a.      The claims presented in this case predominate over any questions of law or fact, if
                                                                                              any exist at all, affecting any individual member of the Class;
                                                                           18
                                                                                      b.      Absent a Class, the members of the Class will continue to suffer damage and
                                                                           19                 Defendant’s unlawful conduct will continue without remedy while Defendant profits
                                                                                              from and enjoy its ill-gotten gains;
                                                                           20
                                                                                      c.      Given the size of individual Class Members’ claims, few, if any, Class Members could
                                                                           21                 afford to or would seek legal redress individually for the wrongs Defendant committed
                                                                                              against them, and absent Class Members have no substantial interest in individually
                                                                           22                 controlling the prosecution of individual actions;
                                                                           23         d.      When the liability of Defendant has been adjudicated, claims of all members of the
                                                                                              Class can be administered efficiently and/or determined uniformly by the Court; and
                                                                           24
                                                                                      e.      This action presents no difficulty that would impede its management by the Court as
                                                                           25                 a class action, which is the best available means by which Plaintiff and Class Members
                                                                                              can seek redress for the harm caused to them by Defendant.
                                                                           26

                                                                           27          41.    Inconsistent Rulings. Because Plaintiff seeks relief for all members of the Class, the

                                                                           28   prosecution of separate actions by individual members would create a risk of inconsistent or varying

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                                                                            1   adjudications with respect to individual members of the Class, which would establish incompatible

                                                                            2   standards of conduct for Defendant.

                                                                            3           42.   Injunctive/Equitable Relief. The prerequisites to maintaining a class action for

                                                                            4   injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as Defendant has acted or

                                                                            5   refused to act on grounds generally applicable to the Class, thereby making appropriate final

                                                                            6   injunctive or equitable relief with respect to the Class as a whole.

                                                                            7           43.   Manageability. Plaintiff and Plaintiff’s counsel are unaware of any difficulties that

                                                                            8   are likely to be encountered in the management of this action that would preclude its maintenance
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                                                                            9   as a class action.
                                                                           10   VII.    CAUSES OF ACTION

                                                                           11                                              COUNT ONE

                                                                           12                           Violation of California Unfair Competition Law

                                                                           13                               (Cal. Bus. & Prof. Code §§ 17200, et seq.)

                                                                           14                                 (On Behalf of the California Subclass)

                                                                           15           44.   Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           16   allegations contained in this complaint, as though fully set forth herein.

                                                                           17           45.   California Subclass. This cause of action is brought pursuant to Business and

                                                                           18   Professions Code Section 17200, et seq., on behalf of Plaintiff and a California Subclass who

                                                                           19   purchased the Products within the applicable statute of limitations.

                                                                           20           46.   The UCL. California Business & Professions Code, sections 17200, et seq. (the

                                                                           21   “UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall

                                                                           22   mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or

                                                                           23   misleading advertising.”

                                                                           24           47.    False Advertising Claims. Defendant, in its advertising and packaging of the

                                                                           25   Products, made false and misleading statements and fraudulent omissions regarding the quality and

                                                                           26   characteristics of the Products—specifically, the Sparkling and Spiked Representation

                                                                           27   (i.e., that the Products are composed of only water and real squeezed fruit)—despite the fact the

                                                                           28   Products also contain citric acid (an artificial flavor and/or preservative). Such claims and omissions
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                                                                            1   appear on the label and packaging of the Products, which are sold at retail stores, point-of-purchase

                                                                            2   displays, and online.

                                                                            3          48.    Defendant’s Deliberately False and Fraudulent Marketing Scheme. Defendant

                                                                            4   does not have any reasonable basis for the claims about the Products made in Defendant’s

                                                                            5   advertising and on Defendant’s packaging or labeling because the Products contain citric acid.

                                                                            6   Defendant knew and knows that the Products contain an ingredient that is not water (sparkling or

                                                                            7   spiked) and real squeezed fruit, specifically, citric acid, though Defendant intentionally advertised

                                                                            8   and marketed the Products to deceive reasonable consumers into believing that the Products contain
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                                                                            9   only water (sparkling or spiked) and real squeezed fruit.
                                                                           10          49.    False Advertising Claims Cause Purchase of Products. Defendant’s labeling and
                                                                           11   advertising of the Products led to, and continues to lead to, reasonable consumers, including
                                                                           12   Plaintiff, believing that the Products only contain water and real squeezed fruit, to the exclusion of
                                                                           13   other ingredients, such as citric acid (which is a artificial flavor and/or preservative).
                                                                           14          50.    Injury in Fact. Plaintiff and the California Subclass have suffered injury in fact and
                                                                           15   have lost money or property as a result of and in reliance upon Defendant’s Challenged
                                                                           16   Representations—namely Plaintiff and the California Subclass lost the purchase price for the
                                                                           17   Products they bought from the Defendant.
                                                                           18          51.    Conduct Violates the UCL. Defendant’s conduct, as alleged herein, constitutes

                                                                           19   unfair, unlawful, and fraudulent business practices pursuant to the UCL. The UCL prohibits unfair

                                                                           20   competition and provides, in pertinent part, that “unfair competition shall mean and include

                                                                           21   unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading

                                                                           22   advertising.” Cal. Bus & Prof. Code § 17200. In addition, Defendant’s use of various forms of

                                                                           23   advertising media to advertise, call attention to, or give publicity to the sale of goods or merchandise

                                                                           24   that are not as represented in any manner constitutes unfair competition, unfair, deceptive, untrue

                                                                           25   or misleading advertising, and an unlawful business practice within the meaning of Business and

                                                                           26   Professions Code Sections 17200 and 17531, which advertisements have deceived and are likely to

                                                                           27   deceive the consuming public, in violation of Business and Professions Code Section 17200.

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                                                                            1           52.   No Reasonably Available Alternatives/Legitimate Business Interests. Defendant

                                                                            2   failed to avail itself of reasonably available, lawful alternatives to further its legitimate business

                                                                            3   interests.

                                                                            4           53.   Business Practice. All of the conduct alleged herein occurred and continues to occur

                                                                            5   in Defendant’s business. Defendant’s wrongful conduct is part of a pattern, practice and/or

                                                                            6   generalized course of conduct, which will continue on a daily basis until Defendant voluntarily

                                                                            7   alters its conduct or Defendant is otherwise ordered to do so.

                                                                            8           54.   Injunction. Pursuant to Business and Professions Code Sections 17203 and 17535,
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                                                                            9   Plaintiff and the members of the California Subclass seek an order of this Court enjoining Defendant
                                                                           10   from continuing to engage, use, or employ its practice of labeling and advertising the sale and use
                                                                           11   of the Products. Likewise, Plaintiff and the members of the California Subclass seek an order
                                                                           12   requiring Defendant to disclose such misrepresentations, and to preclude Defendant’s failure to
                                                                           13   disclose the existence and significance of said misrepresentations.
                                                                           14           55.   Causation/Damages. As a direct and proximate result of Defendant’s misconduct in
                                                                           15   violation of the UCL, Plaintiff and members of the California Subclass were harmed in the amount
                                                                           16   of the purchase price they paid for the Products. Further, Plaintiff and members of the California
                                                                           17   Subclass have suffered and continue to suffer economic losses and other damages including, but not
                                                                           18   limited to, the amounts paid for the Products, and any interest that would have accrued on those

                                                                           19   monies, in an amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for

                                                                           20   violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate

                                                                           21   Plaintiff and the California Subclass for said monies, as well as injunctive relief to enjoin

                                                                           22   Defendant’s misconduct to prevent ongoing and future harm that will result.

                                                                           23           56.   Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action

                                                                           24   for violation of the UCL on behalf of Plaintiff and the California Subclass. Defendant’s unfair,

                                                                           25   fraudulent, and unlawful conduct described herein constitutes malicious, oppressive, and/or

                                                                           26   fraudulent conduct warranting an award of punitive damages as permitted by law. Defendant’s

                                                                           27   misconduct is malicious as Defendant acted with the intent to cause Plaintiff and consumers to pay

                                                                           28   for Products that they were not, in fact, receiving. Defendant willfully and knowingly disregarded
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                                                                            1   the rights of Plaintiff and consumers as Defendant was, at all times, aware of the probable dangerous

                                                                            2   consequences of its conduct and deliberately failed to avoid misleading consumers, including

                                                                            3   Plaintiff. Defendant’s misconduct is oppressive as, at all relevant times, said conduct was so vile,

                                                                            4   base, and/or contemptible that reasonable people would look down upon it and/or otherwise would

                                                                            5   despise such corporate misconduct. Said misconduct subjected Plaintiff and consumers to cruel and

                                                                            6   unjust hardship in knowing disregard of their rights. Defendant’s misconduct is fraudulent as

                                                                            7   Defendant intentionally misrepresented and/or concealed material facts with the intent to deceive

                                                                            8   Plaintiff and consumers. The wrongful conduct constituting malice, oppression, and/or fraud was
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                                                                            9   committed, authorized, adopted, approved, and/or ratified by officers, directors, and/or managing

                                                                           10   agents of Defendant.

                                                                           11                                            “Unfair” Prong

                                                                           12          57.    Unfair Standard. Under the UCL, a challenged activity is “unfair” when “any injury

                                                                           13   it causes outweighs any benefits provided to consumers and the injury is one that the consumers

                                                                           14   themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California, 142 Cal.

                                                                           15   App. 4th 1394, 1403 (2006).

                                                                           16          58.    Injury. Defendant’s action of mislabeling the Products with the Challenged

                                                                           17   Representations does not confer any benefit to consumers; rather, doing so causes injuries to

                                                                           18   consumers, who do not receive products commensurate with their reasonable expectations, overpay

                                                                           19   for the Products, and receive Products of lesser standards than what they reasonably expected to

                                                                           20   receive. Consumers cannot avoid any of the injuries caused by Defendant’s deceptive labeling

                                                                           21   and/or advertising of the Products. Accordingly, the injuries caused by Defendant’s deceptive

                                                                           22   labeling and advertising outweigh any benefits.

                                                                           23          59.    Balancing Test. Some courts conduct a balancing test to decide if a challenged

                                                                           24   activity amounts to unfair conduct under California Business and Professions Code Section 17200.

                                                                           25   They “weigh the utility of the defendant’s conduct against the gravity of the harm to the alleged

                                                                           26   victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

                                                                           27          60.    No Utility. Here, Defendant’s conduct of labeling the Products as solely consisting of

                                                                           28   sparkling water and real fruit—and thus the fruit flavoring solely deriving from real fruit and not
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                                                                            1   from artificial flavors—when the Products contain citric acid, a well-known artificial flavor, has no

                                                                            2   utility and financially harms purchasers. Thus, the utility of Defendant’s conduct is vastly

                                                                            3   outweighed by the gravity of harm.

                                                                            4            61.   Legislative Declared Policy. Some courts require that “unfairness must be tethered

                                                                            5   to some legislative declared policy or proof of some actual or threatened impact on competition.”

                                                                            6   Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

                                                                            7            62.   Unfair Conduct. Defendant’s labeling and advertising of the Products, as alleged

                                                                            8   herein, is false, deceptive, misleading, and unreasonable, and constitutes unfair conduct. Defendant
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                                                                            9   knew or should have known of its unfair conduct. Defendant’s misrepresentations constitute an
                                                                           10   unfair business practice within the meaning of California Business and Professions Code Section
                                                                           11   17200.
                                                                           12            63.   Reasonably Available Alternatives. There existed reasonably available alternatives
                                                                           13   to further Defendant’s legitimate business interests, other than the conduct described herein.
                                                                           14   Defendant could have refrained from labeling the Products with the Sparkling and Spiked
                                                                           15   Representations.
                                                                           16            64.   Defendant’s Wrongful Conduct. All of the conduct alleged herein occurs and
                                                                           17   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                                                                           18   generalized course of conduct repeated on thousands of occasions daily.

                                                                           19            65.   Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff and

                                                                           20   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           21   use, or employ its practices of labeling the Products with the Challenged Representations.

                                                                           22            66.   Causation/Damages. Plaintiff and the California Subclass have suffered injury in fact

                                                                           23   and have lost money as a result of Defendant’s unfair conduct. Plaintiff and the California Subclass

                                                                           24   paid an unwarranted premium for the Products. Specifically, Plaintiff and the California Subclass

                                                                           25   paid for Products that were supposedly made with only water (sparkling or spiked) and real squeezed

                                                                           26   fruit, but instead purchased Products that contain citric acid, which is neither water nor real squeezed

                                                                           27   fruit (and is rather an artificial flavor and/or preservative). Plaintiff and the California Subclass

                                                                           28   would not have purchased the Products, or would have paid substantially less for the Products, if
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                                                                            1   they had known that the Products’ advertising and labeling were deceptive. Accordingly, Plaintiff

                                                                            2   seeks damages, restitution and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                            3                                          “Fraudulent” Prong

                                                                            4          67.     Fraud Standard. The UCL considers conduct fraudulent (and prohibits said conduct)

                                                                            5   if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254,

                                                                            6   1267 (1992).

                                                                            7          68.     Fraudulent & Material Challenged Representations. Defendant used the Sparkling

                                                                            8   and Spiked Representations with the intent to sell the Products to consumers, including Plaintiff and
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                                                                            9   the California Subclass. The Challenged Representations are false and Defendant knew or should
                                                                           10   have known of its falsity. The Challenged Representations are likely to deceive consumers into
                                                                           11   purchasing the Products because they are material to the average, ordinary, and reasonable
                                                                           12   consumer.
                                                                           13          69.     Fraudulent Business Practice. As alleged herein, the misrepresentations by
                                                                           14   Defendant constitute a fraudulent business practice in violation of California Business &
                                                                           15   Professions Code Section 17200.
                                                                           16          70.     Reasonable and Detrimental Reliance. Plaintiff and the California Subclass
                                                                           17   reasonably and detrimentally relied on the material and false Challenged Representations to their
                                                                           18   detriment in that they purchased the Products.

                                                                           19          71.     Reasonably Available Alternatives. Defendant had reasonably available alternatives

                                                                           20   to further its legitimate business interests, other than the conduct described herein. Defendant could

                                                                           21   have refrained from labeling the Products with the Sparkling and Spiked Representations.

                                                                           22          72.     Business Practice. All of the conduct alleged herein occurs and continues to occur in

                                                                           23   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                           24   conduct.

                                                                           25          73.     Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiff and

                                                                           26   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

                                                                           27   use, or employ its practice of labeling the Products with the Sparkling and Spiked Representations.

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                                                                            1          74.    Causation/Damages. Plaintiff and the California Subclass have suffered injury in fact

                                                                            2   and have lost money as a result of Defendant’s unfair conduct. Plaintiff and the California Subclass

                                                                            3   paid an unwarranted premium for the Products. Specifically, Plaintiff and the California Subclass

                                                                            4   paid for Products that were supposedly made with only water (sparkling or spiked) and real squeezed

                                                                            5   fruit, but instead purchased Products that contain citric acid, which is neither water nor real squeezed

                                                                            6   fruit (and is rather an artificial flavor and/or preservative). Plaintiff and the California Subclass

                                                                            7   would not have purchased the Products, or would have paid substantially less for the Products, if

                                                                            8   they had known that the Products’ advertising and labeling were deceptive. Accordingly, Plaintiff
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                                                                            9   seeks damages, restitution and/or disgorgement of ill-gotten gains pursuant to the UCL.
                                                                           10                                            “Unlawful” Prong

                                                                           11          75.    Unlawful Standard. The UCL identifies violations of other laws as “unlawful

                                                                           12   practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC

                                                                           13   Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).

                                                                           14          76.    Violations of CLRA and FAL. Defendant’s labeling of the Products, as alleged

                                                                           15   herein, violates California Civil Code sections 1750, et seq. (the “CLRA”) and California Business

                                                                           16   and Professions Code sections 17500, et seq. (the “FAL”) as set forth below in the sections

                                                                           17   regarding those causes of action.

                                                                           18          77.    Additional Violations. Defendant’s conduct in making the false representations

                                                                           19   described herein constitutes a knowing failure to adopt policies in accordance with and/or adherence

                                                                           20   to applicable laws, as set forth herein, all of which are binding upon and burdensome to their

                                                                           21   competitors. This conduct engenders an unfair competitive advantage for Defendant, thereby

                                                                           22   constituting an unfair, fraudulent and/or unlawful business practice under California Business &

                                                                           23   Professions Code sections 17200-17208. Additionally, Defendant’s misrepresentations of material

                                                                           24   facts, as set forth herein, violate California Civil Code sections 1572, 1573, 1709, 1710, 1711, and

                                                                           25   1770, as well as the common law.

                                                                           26          78.    Unlawful Conduct. Defendant’s packaging, labeling, and advertising of the Products,

                                                                           27   as alleged herein, are false, deceptive, misleading, and unreasonable, and constitute unlawful

                                                                           28   conduct. Defendant knew or should have known of its unlawful conduct.
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                                                                            1           79.   Reasonably Available Alternatives. Defendant had reasonably available alternatives

                                                                            2   to further its legitimate business interests, other than the conduct described herein. Defendant could

                                                                            3   have refrained from labeling the Products with the Sparkling and Spiked Representations and/or

                                                                            4   omitting that the Products contained ingredients other than water (sparkling or spiked) and real

                                                                            5   squeezed fruit, specifically citric acid (an artificial and/or preservative).

                                                                            6           80.   Business Practice. All of the conduct alleged herein occurs and continues to occur in

                                                                            7   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

                                                                            8   conduct.
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                                                                            9           81.   Injunction. Pursuant to Business and Professions Code Section 17203, Plaintiff and
                                                                           10   the California Subclass seek an order of this Court enjoining Defendant from continuing to engage,
                                                                           11   use, or employ its practice of false and deceptive advertising of the Products.
                                                                           12           82.   Causation/Damages. Plaintiff and the California Subclass have suffered injury in fact
                                                                           13   and have lost money as a result of Defendant’s unfair conduct. Plaintiff and the California Subclass
                                                                           14   paid an unwarranted premium for the Products. Specifically, Plaintiff and the California Subclass
                                                                           15   paid for Products that were supposedly made with only water (sparkling or spiked) and real squeezed
                                                                           16   fruit, but instead purchased Products that contain citric acid, which is neither water nor real squeezed
                                                                           17   fruit (and is rather an artificial flavor and/or preservative). Plaintiff and the California Subclass
                                                                           18   would not have purchased the Products, or would have paid substantially less for the Products, if

                                                                           19   they had known that the Products’ advertising and labeling were deceptive. Accordingly, Plaintiff

                                                                           20   seeks damages, restitution and/or disgorgement of ill-gotten gains pursuant to the UCL.

                                                                           21                                               COUNT TWO

                                                                           22                             Violation of California False Advertising Law

                                                                           23                                (Cal. Bus. & Prof. Code §§ 17500, et seq.)

                                                                           24                                  (On Behalf of the California Subclass)

                                                                           25           83.   Incorporation by reference. Plaintiff re-alleges and incorporates by reference all

                                                                           26   allegations contained in this complaint, as though fully set forth herein.

                                                                           27           84.   California Subclass. Plaintiff brings this claim individually and on behalf of the

                                                                           28   California Subclass who purchased the Products within the applicable statute of limitations.
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                                                                            1          85.    FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof. Code

                                                                            2   section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”

                                                                            3          86.    False & Material Challenged Representations Disseminated to Public. Defendant

                                                                            4   violated section 17500 when it advertised and marketed the Products through the unfair, deceptive,

                                                                            5   untrue, and misleading Sparkling and Spiked Representations disseminated to the public through

                                                                            6   the Products’ labeling, packaging, marketing, and advertising. These representations were false

                                                                            7   because the Products do not conform to them. The representations were material because they are

                                                                            8   likely to mislead a reasonable consumer into purchasing the Products.
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                                                                            9          87.    Knowledge. In making and disseminating the representations alleged herein,
                                                                           10   Defendant knew or should have known that the representations were untrue or misleading, and acted
                                                                           11   in violation of § 17500.
                                                                           12          88.    Intent to sell. Defendant’s Challenged Representations were specifically designed to
                                                                           13   induce reasonable consumers, like Plaintiff and the California Subclass, to purchase the Products.
                                                                           14          89.    Causation/Damages. As a direct and proximate result of Defendant’s misconduct in
                                                                           15   violation of the FAL, Plaintiff and members of the California Subclass were harmed in the amount
                                                                           16   of the purchase price they paid for the Products. Further, Plaintiff and members of the Class have
                                                                           17   suffered and continue to suffer economic losses and other damages including, but not limited to, the
                                                                           18   amounts paid for the Products, and any interest that would have accrued on those monies, in an

                                                                           19   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of the FAL

                                                                           20   in damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the

                                                                           21   California Subclass for said monies, as well as injunctive relief to enjoin Defendant’s misconduct

                                                                           22   to prevent ongoing and future harm that will result.

                                                                           23          90.    Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct described

                                                                           24   herein constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of punitive

                                                                           25   damages as permitted by law. Defendant’s misconduct is malicious as Defendant acted with the

                                                                           26   intent to cause Plaintiff and consumers to pay for Products that they were not, in fact,

                                                                           27   receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff and consumers as

                                                                           28   Defendant was aware of the probable dangerous consequences of its conduct and deliberately failed
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                                                                            1   to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is oppressive as, at all

                                                                            2   relevant times, said conduct was so vile, base, and/or contemptible that reasonable people would

                                                                            3   look down upon it and/or otherwise would despise such corporate misconduct. Said misconduct

                                                                            4   subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard of their

                                                                            5   rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                            6   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.

                                                                            7   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                            8   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.
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                                                                            9                                            COUNT THREE

                                                                           10                       Violation of California Consumers Legal Remedies Act

                                                                           11                                    (Cal. Civ. Code §§ 1750, et seq.)

                                                                           12                                 (On Behalf of the California Subclass)

                                                                           13          91.    Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           14   allegations contained in this complaint, as though fully set forth herein.

                                                                           15          92.    California Subclass. Plaintiff brings this claim individually and on behalf of the

                                                                           16   California Subclass who purchased the Products within the applicable statute of limitations.

                                                                           17          93.    CLRA Standard. The CLRA provides that “unfair methods of competition and unfair

                                                                           18   or deceptive acts or practices undertaken by any person in a transaction intended to result or which

                                                                           19   results in the sale or lease of goods or services to any consumer are unlawful.”

                                                                           20          94.    Goods/Services. The Products are “goods,” as defined by the CLRA in California

                                                                           21   Civil Code §1761(a).

                                                                           22          95.    Defendant. Defendant is a “person,” as defined by the CLRA in California Civil Code

                                                                           23   §1761(c).

                                                                           24          96.    Consumers. Plaintiff and members of the California Subclass are “consumers,” as

                                                                           25   defined by the CLRA in California Civil Code §1761(d).

                                                                           26          97.    Transactions. The purchase of the Products by Plaintiff and members of the

                                                                           27   California Subclass are “transactions” as defined by the CLRA under California Civil Code §

                                                                           28   1761(e).
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                                                                            1           98.   Violations of the CLRA. Defendant violated the following sections of the CLRA by

                                                                            2   selling the Products to Plaintiff and the California Subclass through the false, misleading, deceptive,

                                                                            3   and fraudulent Challenged Representations:

                                                                            4                 a. Section 1770(a)(5) by representing that the Products have “characteristics, . . .

                                                                            5                     uses [or] benefits . . . which [they] do not have.”

                                                                            6                 b. Section 1770(a)(7) by representing that the Products “are of a particular standard,

                                                                            7                     quality, or grade . . . [when] they are of another.”

                                                                            8                 c. Section 1770(a)(9) by advertising the Products “with [the] intent not to sell them
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                                                                            9                     as advertised.”
                                                                           10           99.   Knowledge. Defendant’s uniform and material representations and omissions
                                                                           11   regarding the Products were likely to deceive, and Defendant knew or should have known that its
                                                                           12   representations and omissions were untrue and misleading.
                                                                           13           100. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in that
                                                                           14   Defendant intentionally misled and withheld material information from consumers, including
                                                                           15   Plaintiff, to increase the sale of the Products.
                                                                           16           101. Plaintiff Could Not Have Avoided Injury. Plaintiff and members of the California
                                                                           17   Subclass could not have reasonably avoided such injury. Plaintiff and members of the California
                                                                           18   Subclass were unaware of the existence of the facts that Defendant suppressed and failed to disclose,

                                                                           19   and Plaintiff and members of the California Subclass would not have purchased the Products and/or

                                                                           20   would have purchased them on different terms had they known the truth.

                                                                           21           102. Causation/Reliance/Materiality. Plaintiff and the California Subclass suffered harm

                                                                           22   as a result of Defendant’s violations of the CLRA because they relied on the Challenged

                                                                           23   Representations in deciding to purchase the Products. The Challenged Representations were a

                                                                           24   substantial factor. The Challenged Representations were material because a reasonable consumer

                                                                           25   would consider it important in deciding whether to purchase the Products.

                                                                           26           103. Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California Civil Code,

                                                                           27   section 1782, more than thirty days prior to the filing of this complaint, on or about March 18, 2022,

                                                                           28   Plaintiff’s counsel, acting on behalf all members of the Class, mailed a Demand Letter, via U.S.
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                                                                            1   certified mail, return receipt requested, addressed to Defendant Spindrift Beverage Company, Inc.

                                                                            2   at its headquarters and principal place of business registered with the Massachusetts Secretary of

                                                                            3   State (55 Chapel Street, Ste. 401, Newton, MA 02458) and its registered agent for service of process

                                                                            4   (CT Corp. System, 330 N. Brand Blvd., Ste. 700, Glendale, CA 91203), which were delivered to

                                                                            5   those addresses on or about March 30, 2022 and March 22, 2022, respectively. See Exhibit 5 [Pre-

                                                                            6   Lit Demand Letter].

                                                                            7          104. Causation/Damages. As a direct and proximate result of Defendant’s misconduct in

                                                                            8   violation of the CLRA, Plaintiff and members of the California Subclass were harmed in the amount
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                                                                            9   of the purchase price they paid for the Products. Further, Plaintiff and members of the Class have
                                                                           10   suffered and continue to suffer economic losses and other damages including, but not limited to, the
                                                                           11   amounts paid for the Products, and any interest that would have accrued on those monies, in an
                                                                           12   amount to be proven at trial. Accordingly, Plaintiff seeks a monetary award for violation of this Act
                                                                           13   in the form of damages, restitution, disgorgement of ill-gotten gains to compensate Plaintiff and the
                                                                           14   California Subclass for said monies.
                                                                           15          105. Injunction. Given that Defendant’s conduct violated California Civil Code section

                                                                           16   1780, Plaintiff and members of the California Subclass are entitled to seek, and do hereby seek,

                                                                           17   injunctive relief to put an end to Defendant’s violations of the CLRA and to dispel the public

                                                                           18   misperception generated, facilitated, and fostered by Defendant’s false advertising campaign.

                                                                           19   Plaintiff has no adequate remedy at law. Without equitable relief, Defendant’s unfair and deceptive

                                                                           20   practices will continue to harm Plaintiff and the California Subclass. Accordingly, Plaintiff seeks

                                                                           21   an injunction to enjoin Defendant from continuing to employ the unlawful methods, acts, and

                                                                           22   practices alleged herein pursuant to section 1780(a)(2), and otherwise require Defendant to take

                                                                           23   corrective action necessary to dispel the public misperception engendered, fostered, and facilitated

                                                                           24   through Defendant’s deceptive labeling of the Products with the Challenged Representations.

                                                                           25          106. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful conduct described

                                                                           26   herein constitutes malicious, oppressive, and/or fraudulent conduct warranting an award of punitive

                                                                           27   damages as permitted by law. Defendant’s misconduct is malicious as Defendant acted with the

                                                                           28   intent to cause Plaintiff and consumers to pay for Products that they were not, in fact, receiving.
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                                                                            1   Defendant willfully and knowingly disregarded the rights of Plaintiff and consumers as Defendant

                                                                            2   was, at all times, aware of the probable dangerous consequences of its conduct and deliberately

                                                                            3   failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is oppressive as,

                                                                            4   at all relevant times, said conduct was so vile, base, and/or contemptible that reasonable people

                                                                            5   would look down upon it and/or otherwise would despise such corporate misconduct. Said

                                                                            6   misconduct subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard of

                                                                            7   their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                            8   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.
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                                                                            9   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,
                                                                           10   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.
                                                                           11   Accordingly, Plaintiff seeks an award of punitive damages against Defendant.
                                                                           12                                             COUNT FOUR

                                                                           13                                           Breach of Warranty

                                                                           14                     (On Behalf of the Nationwide Class and California Subclass)

                                                                           15          107. Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                           16   allegations contained in this complaint, as though fully set forth herein.

                                                                           17          108. Nationwide Class & California Subclass. Plaintiff brings this claim individually and

                                                                           18   on behalf of the Class who purchased the Products within the applicable statute of limitations.

                                                                           19          109. Express Warranty. By advertising and selling the Products at issue, Defendant made

                                                                           20   promises and affirmations of fact on the Products’ packaging and labeling, and through its marketing

                                                                           21   and advertising, as described herein. This labeling and advertising constitute express warranties and

                                                                           22   became part of the basis of the bargain between Plaintiff and members of the Class and Defendant.

                                                                           23   Defendant purports, through the Products’ labeling and advertising, to create express warranties that

                                                                           24   the Products, among other things, conform to the Challenged Representations.

                                                                           25          110. Implied Warranty of Merchantability. By advertising and selling the Products at

                                                                           26   issue, Defendant, a merchant of goods, made promises and affirmations of fact that the Products are

                                                                           27   merchantable and conform to the promises or affirmations of fact made on the Products’ packaging

                                                                           28   and labeling, and through its marketing and advertising, as described herein. This labeling and
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                                                                            1   advertising, combined with the implied warranty of merchantability, constitute warranties that

                                                                            2   became part of the basis of the bargain between Plaintiff and members of the Class and Defendant—

                                                                            3   to wit, that the Products, among other things, conform to the Challenged Representations.

                                                                            4          111. Breach of Warranty. Contrary to Defendant’s express warranties, the Products do

                                                                            5   not conform to the Challenged Representations and, therefore, Defendant breached its warranties

                                                                            6   about the Products and their qualities.

                                                                            7          112. Causation/Remedies. As a direct and proximate result of Defendant’s breach of

                                                                            8   express warranty, Plaintiff and members of the Class were harmed in the amount of the purchase
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                                                                            9   price they paid for the Products. Further, Plaintiff and members of the Class have suffered and
                                                                           10   continue to suffer economic losses and other damages including, but not limited to, the amounts
                                                                           11   paid for the Products, and any interest that would have accrued on those monies, in an amount to be
                                                                           12   proven at trial. Accordingly, Plaintiff seeks a monetary award for breach of warranty in the form of
                                                                           13   damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class
                                                                           14   for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing
                                                                           15   and future harm that will result.
                                                                           16          113. Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action
                                                                           17   for breach of warranty on behalf of Plaintiff and the Class. Defendant’s unfair, fraudulent, and
                                                                           18   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct

                                                                           19   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious

                                                                           20   as Defendant acted with the intent to cause Plaintiff and consumers to pay for Products that they

                                                                           21   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff

                                                                           22   and consumers as Defendant was aware of the probable dangerous consequences of its conduct and

                                                                           23   deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is

                                                                           24   oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that

                                                                           25   reasonable people would look down upon it and/or otherwise would despise such misconduct. Said

                                                                           26   misconduct subjected Plaintiff and consumers to cruel and unjust hardship in knowing disregard of

                                                                           27   their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally

                                                                           28   misrepresented and/or concealed material facts with the intent to deceive Plaintiff and consumers.
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                                                                            1   The wrongful conduct constituting malice, oppression, and/or fraud was committed, authorized,

                                                                            2   adopted, approved, and/or ratified by officers, directors, and/or managing agents of Defendant.

                                                                            3                                              COUNT FIVE

                                                                            4                                     Unjust Enrichment/Restitution

                                                                            5                     (On Behalf of the Nationwide Class and California Subclass)

                                                                            6           114. Incorporation by Reference. Plaintiff re-alleges and incorporates by reference all

                                                                            7   allegations contained in this complaint, as though fully set forth herein.

                                                                            8           115. Nationwide Class & California Subclass. Plaintiff brings this claim individually and
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                                                                            9   on behalf of the Class who purchased the Products within the applicable statute of limitations.
                                                                           10           116. Plaintiff/Class Conferred a Benefit. By purchasing the Products, Plaintiff and
                                                                           11   members of the Class conferred a benefit on Defendant in the form of the purchase price of the
                                                                           12   Products.
                                                                           13           117. Defendant’s Knowledge of Conferred Benefit. Defendant had knowledge of such
                                                                           14   benefit and Defendant appreciated the benefit because, were consumers not to purchase the
                                                                           15   Products, Defendant would not generate revenue from the sales of the Products.
                                                                           16           118. Defendant’s Unjust Receipt Through Deception. Defendant’s knowing acceptance
                                                                           17   and retention of the benefit is inequitable and unjust because the benefit was obtained by
                                                                           18   Defendant’s fraudulent, misleading, and deceptive representations and omissions.

                                                                           19           119. Causation/Damages.         As a direct and proximate result of Defendant’s unjust

                                                                           20   enrichment, Plaintiff and members of the Class were harmed in the amount of the purchase price

                                                                           21   they paid for the Products. Further, Plaintiff and members of the Class have suffered and continue

                                                                           22   to suffer economic losses and other damages including, but not limited to, the amounts paid for the

                                                                           23   Products, and any interest that would have accrued on those monies, in an amount to be proven at

                                                                           24   trial. Accordingly, Plaintiff seeks a monetary award for unjust enrichment in damages, restitution,

                                                                           25   and/or disgorgement of ill-gotten gains to compensate Plaintiff and the Class for said monies, as

                                                                           26   well as injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm that

                                                                           27   will result.

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                                                                            1          120. Punitive Damages. Plaintiff seeks punitive damages pursuant to this cause of action

                                                                            2   for unjust enrichment on behalf of Plaintiff and the Class. Defendant’s unfair, fraudulent, and

                                                                            3   unlawful conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct

                                                                            4   warranting an award of punitive damages as permitted by law. Defendant’s misconduct is malicious

                                                                            5   as Defendant acted with the intent to cause Plaintiff and consumers to pay for Products that they

                                                                            6   were not, in fact, receiving. Defendant willfully and knowingly disregarded the rights of Plaintiff

                                                                            7   and consumers as Defendant was aware of the probable dangerous consequences of its conduct and

                                                                            8   deliberately failed to avoid misleading consumers, including Plaintiff. Defendant’s misconduct is
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                                                                            9   oppressive as, at all relevant times, said conduct was so vile, base, and/or contemptible that
                                                                           10   reasonable people would look down upon it and/or otherwise would despise such corporate
                                                                           11   misconduct. Said misconduct subjected Plaintiff and consumers to cruel and unjust hardship in
                                                                           12   knowing disregard of their rights. Defendant’s misconduct is fraudulent as Defendant, at all relevant
                                                                           13   times, intentionally misrepresented and/or concealed material facts with the intent to deceive
                                                                           14   Plaintiff and consumers. The wrongful conduct constituting malice, oppression, and/or fraud was
                                                                           15   committed, authorized, adopted, approved, and/or ratified by officers, directors, and/or managing
                                                                           16   agents of Defendant.
                                                                           17   VIII. PRAYER FOR RELIEF

                                                                           18          121. WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

                                                                           19   prays for judgment against Defendant as follows:

                                                                           20             a. Certification: For an order certifying this action as a class action, appointing Plaintiff
                                                                                             as the Class Representative, and appointing Plaintiff’s Counsel as Class Counsel,
                                                                           21                consistent with applicable law;
                                                                           22             b. Declaratory Relief: For an order declaring that Defendant’s conduct violates the
                                                                                             statutes and laws referenced herein, consistent with applicable law and pursuant to
                                                                           23                only those causes of action so permitted;
                                                                           24             c. Injunction: For an order requiring Defendant to change its business practices to
                                                                                             prevent or mitigate the risk of the consumer deception and violations of law outlined
                                                                           25                herein. This includes, for example, orders that Defendant immediately cease and
                                                                                             desist from selling the unlawful Products in violation of law; that enjoin Defendant
                                                                           26                from continuing to market, advertise, distribute, and sell the Products in the unlawful
                                                                                             manner described herein; that require Defendant to engage in an affirmative
                                                                           27                advertising campaign to dispel the public misperception of the Products resulting from
                                                                                             Defendant’s unlawful conduct; and/or that require Defendant to take all further and
                                                                           28                just corrective action, consistent with applicable law and pursuant to only those causes
                                                                                                                                 -60-
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                                                                                             of action so permitted;
                                                                            1
                                                                                         d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                            2               compensation in the form of damages, restitution, and/or disgorgement to Plaintiff
                                                                                            and the Class, consistent with applicable law and pursuant to only those causes of
                                                                            3               action so permitted;
                                                                            4            e. Punitive Damages/Penalties: For an order awarding punitive damages, statutory
                                                                                            penalties, and/or monetary fines, consistent with applicable law and pursuant to only
                                                                            5               those causes of action so permitted;
                                                                            6            f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs, consistent
                                                                                            with applicable law and pursuant to only those causes of action so permitted;
                                                                            7
                                                                                         g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and post-
                                                                            8
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                                                                                            judgment interest, consistent with applicable law and pursuant to only those causes of
                                                                                            action so permitted; and
                                                                            9
                                                                                         h. All Just & Proper Relief: For such other and further relief as the Court deems just
                                                                           10               and proper.
                                                                           11
                                                                                Dated: January 3, 2023                               Respectfully submitted,
                                                                           12
                                                                                                                                     CLARKSON LAW FIRM, P.C.
                                                                           13                                                        By:
                                                                           14                                                         /s/ Katherine A. Bruce
                                                                                                                                     RYAN J. CLARKSON
                                                                           15                                                        KATHERINE A. BRUCE
                                                                                                                                     KELSEY J. ELLING
                                                                           16                                                        OLIVIA TREISTER
                                                                                                                                     Attorneys for Plaintiff
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                                                                            1                                      DEMAND FOR JURY TRIAL

                                                                            2              122. Plaintiff(s) hereby demand(s) a trial by jury on all issues and causes of action so

                                                                            3   triable.

                                                                            4
                                                                                Dated: January 3, 2023                                  Respectfully submitted,
                                                                            5
                                                                                                                                        CLARKSON LAW FIRM, P.C.
                                                                            6                                                           By:
                                                                            7                                                            /s/ Katherine A. Bruce
                                                                                                                                        RYAN J. CLARKSON
                                                                            8
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                                                                                                                                        KATHERINE A. BRUCE
                                                                                                                                        KELSEY J. ELLING
                                                                            9                                                           OLIVIA TREISTER
                                                                                                                                        Attorneys for Plaintiff
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